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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

        GENESYS CLOUD SERVICES, INC.,      )
                                           )
                           Plaintiff,      )
                                           )
              vs.                          ) Civil Case No. 1:19-CV-695-TWP-DML
                                           )
        TALKDESK, INC., et al.,            )
                                           )
                           Defendants.     )


    BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
       AND IN SUPPORT OF DEFENDANTS’ CROSS-MOTION FOR SUMMARY
                                JUDGMENT
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                                       I.   INTRODUCTION

          Over a year-and-a-half ago, this Court expressed its “doubt that the information Genesys

   seeks to protect as trade secrets is indeed secret and not public.” D.I. 199 at 14. The Court

   likewise held that the non-solicitation provisions at issue in this case were “overbroad and

   unenforceable under Indiana law.” Id. at 10. Despite these findings, Genesys has stubbornly

   maintained and expanded this case, causing Defendants to expend significant time and resources

   defending Genesys’s meritless claims. Genesys is the 5,000+ pound gorilla in the contact-center

   market, having been a long-standing provider of “on-premise” solutions with a recent emphasis

   on “cloud” products. DEX252 ¶ 19.1 Talkdesk, on the other hand, is an “upstart” and growing

   competitor—who in 2017 drew the ire of Genesys by establishing itself as a Magic Quadrant

   visionary in the “CCaaS” product category.2 This case thus appears to be driven by Genesys’s

   desire to prevent Talkdesk from legitimately competing for customers and employees.

          Whatever the motive, Defendants ask the Court to put an end to this case. Genesys

   alleges it was harmed by the departure of roughly fifteen sales employees in 2018. The

   departure of these at-will employees, however, was not out of the ordinary for Genesys—a

   company with over 400 sales associates—nor was it caused by any undue solicitation or

   confidential knowledge by Defendants. Moreover, the fact that fifteen individuals moved from

   Genesys to Talkdesk in 2018 is a representation of Talkdesk’s business growth at that time—not

   alleged corporate “raiding.” It is undisputed that Talkdesk sought to and did hire sales



   1
     Genesys has sought to morph its brand by recently changing its name from “Genesys
   Telecommunications Laboratories, Inc.” to “Genesys Cloud Services, Inc.” See D.I. 252.
   2
     See CX Today, Look Who Made The North America CCaaS Magic Quadrant for 2017 (Nov. 8,
   2017), https://www.cxtoday.com/contact-centre/look-made-north-america-ccaas-magic-
   quadrant-2017/.
                                                    1
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   employees from many different competitors during the relevant period in 2018. But even if

   Genesys had been the only company from which Talkdesk hired in 2018 and 2019, Talkdesk’s

   primary purpose was to hire qualified employees—not to “destroy” Genesys’s business. For this

   and the reasons explored below, Defendants request that the Court deny Genesys’s motion for

   summary judgment and grant Defendants’ request for the same on all claims.

    II.   STATEMENT OF MATERIAL FACTS IN DISPUTE PRECLUDING GENESYS’S
                        MOTION FOR SUMMARY JUDGMENT

          Genesys’s “Statement of Material Facts” (D.I. 266 at 1–15) comprises alleged facts that

   are neither material nor relevant to the resolution of this case. Many are not facts at all but

   assertions or arguments. Nonetheless, Defendants respond to each section of Genesys’s alleged

   grouping of “facts” as follows:

                  A. The Parties Are Competitors In The Call Center As a Service (CCaaS)
                     Industry.

          Genesys and Talkdesk are two of many competitors in the CCaaS industry. DEX252 ¶

   58. Other major players include Five9, 8x8, Ring Central, and LiveAgent. DEX252 ¶

   61. Genesys is a large established player in this market, with over 11,000 customers and about

   5,000 employees. DEX253 at 2; DEX254 at 23:10–13. Despite the trumped-up allegations

   made by Genesys in this case, Genesys has bragged in industry publications that it has continued

   to have exploding growth in its cloud products, including Genesys Cloud (formerly

   PureCloud). DEX253 at 1; DEX255 at 2.

          Talkdesk is a relative newcomer to the CCaaS industry. DEX252 ¶ 55. Despite this, it

   has grown quickly to establish itself as a respected player in the industry—as well as a threat to

   Genesys. See DEX252 ¶¶ 55, 58. The present lawsuit is borne of that competitive threat—not of

   any improprieties by Defendants.

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                  B. Manno, Strahan, and Hertel are Former Genesys Sales Leaders.

          Manno, Strahan, and Hertel were employees of Interactive Intelligence (“InIn”), a

   company acquired by Genesys in 2016. D.I. 183-6 ¶¶ 1, 3; D.I. 183-8 ¶¶ 1, 4; D.I. 183-5 ¶¶ 1,

   3. Concerned with the culture at Genesys after InIn was acquired, each began exploring

   potential opportunities in 2018. See D.I. 183-8 ¶ 18; DEX254 at 138:15–139:5; DEX256 at

   16:9–24; DEX257 at 150:11–25. Defendants dispute that Manno, Strahan, and Hertel used any

   “confidential” information. The fact that some information was at some point of time stored on

   Genesys’s system does not mean that the information is “confidential.” DEX258 at 17:18–22.

   Nor does a conclusory marking on a document. See, e.g., D.I. 182-20 (example of a document

   marked as confidential but publicly available); see also D.I. 199 at 13.

                  C. Manno and Strahan Execute Employment Agreements That Inure to
                     Genesys.

          Manno executed an employment agreement with InIn in 2004, and Strahan executed such

   an agreement in 2000. D.I. 183-6 ¶ 1; D.I. 183-8 ¶ 1. Strahan was told by InIn in 2005 that InIn

   did not enforce employment agreements. D.I. 183-8 ¶ 3. Neither Manno nor Strahan recall

   seeing their InIn agreements again until November 2018, when counsel for Genesys threatened

   this lawsuit. D.I. 183-6 ¶ 1; D.I. 183-8 ¶ 2. Genesys did not notify either Strahan or Manno that

   the InIn agreements existed or inured to Genesys’s benefit. D.I. 183-6 ¶ 3; D.I. 183-8 ¶¶ 2–3;

   see also DEX254 at 17:11–18:17, 63:9–11. Indeed, the agreements were only located by

   Genesys after the pair of former employees left. See DEX254 at 15:9–16, 16:6–12. The

   agreements were found in a locked room not accessible to Strahan and Manno. DEX254 at

   16:3–5; DEX260 at 22:16–23:2.




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                  D. In Summer of 2018 Talkdesk Chairman & CEO Paiva and Genesys’ Vice
                     President of Sales Ralph Manno Plot Manno’s Takeover of Talkdesk’s
                     Sales Organization.

          Defendants dispute Genesys’s alleged material facts. With an eye toward growing

   enterprise sales, Talkdesk’s recruiting department began contacting potential sales

   leaders. DEX261 at 24:5, 26:1–12. In 2018, Talkdesk did a deep dive for potential candidates

   across the CCaaS industry, including those at Genesys and many other organizations. DEX262

   at 20:10–12, 22:9–11, 36:11–14; DEX267 at 73:18–74:13. Mr. Manno was contacted to assess

   his interest around summer 2018. DEX262 at 25:9–12. Determining the opportunity was the

   right fit for him, Mr. Manno signed an offer letter in August 2018.

          Talkdesk’s recruiting staff interviewed Mr. Hertel and Mr. Strahan, as well as another

   potential candidate, Chuck Krogman, who was employed by Five9. See DEX262 at 12:20–23;

   DEX288 at 81:7–82:7. Strahan and Hertel individually decided that the Talkdesk opportunities

   were the right opportunities for their careers. D.I. 183-6 ¶ 15; D.I. 183-5 ¶ 13; DEX269 at

   259:15—260:1; see D.I. 183-8 ¶ 13. Mr. Krogman also was offered and ultimately hired by

   Talkdesk. DEX288 at 81:7–82:7.

          Manno, Strahan, and Hertel provided names of possible candidates across the CCaaS

   industry, whom Talkdesk considered for positions. See D.I. 257-7 at 2–3. Talkdesk had prior

   knowledge of many, if not all, of these potential candidates in the industry based on its recruiting

   team’s investigations. DEX262 at 46:8–12; DEX267 at 66:20–68:4, 73:22–74:13. For example,

   Morales had been contacted via LinkedIn by Talkdesk prior to Hertel’s involvement. DEX267 at

   45:21–46:15; DEX270 at 42:16–24.

          Talkdesk conducted standard recruiting efforts and decided whether to extend offers to

   potential candidates. See DEX262 at 11:4–11. As part of this process, Talkdesk recruiters

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   gathered information from the candidates regarding their work performance, salary requirements,

   and other personnel information. See id. at 22:25–23:4. Talkdesk also interviewed many more

   candidates than it hired. Id. at 12:8–19. Talkdesk was not looking for candidates from any

   specific company but rather wanted to find the best fit. Id. at 10:14–18, 12:2–3, 36:11–

   15.

                  E. While Still Employed As A Genesys Vice President Of Sales, Manno
                     Recruits Genesys Area Directors Strahan And Hertel To Join Him At
                     Talkdesk.

          Defendants dispute Genesys’s alleged material facts. Manno did not “recruit” or “solicit”

   Strahan and Hertel to join him at Talkdesk. D.I. 183-06 ¶¶ 25–26; DEX268 at 36:10–37:16. He

   provided information to the individuals from which they could make a decision. D.I. 183-06 ¶

   25. Talkdesk’s CEO made the ultimate hiring decisions for Talkdesk during this

   period. DEX271 at 14:22; DEX288 at 25:21–24. Manno had no authority to offer or hire

   Strahan or Hertel. See DEX271 at 14:22; DEX288 at 25:21–24. He could only recommend that

   Talkdesk consider the employees for future employment. See DEX262 at 44:16–25; DEX288 at

   25:21–24.

                  F. While Still Genesys Leaders, Manno, Strahan, and Hertel Served as
                     Talkdesk’s Recruiters, Using Genesys Personnel Information to Recruit
                     Genesys Employees.

          Defendants dispute Genesys’s alleged material facts. Manno did not “negotiate[]”Hertel

   and Strahan’s Talkdesk offers. D.I. 183-06 ¶ 25; see D.I. 257-3 at 2–4. Manno simply passed

   along information from Hertel and Strahan regarding their compensation requirements. See D.I.

   257-3 at 2–4. Manno, Strahan, and Hertel provided names across the CCaaS industry for

   Talkdesk to consider for employment. See D.I. 257-7 at 2–3. Talkdesk already had deep

   knowledge of potential candidates in the industry based on its recruiting team’s investigations.

                                                   5
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   See DEX262 at 22:4–16; DEX267 at 66:20–68:4, 73:22–74:13. Manno, Strahan, and Hertel had

   no authority to make hires on Talkdesk’s behalf. See DEX262 at 21:19–24; DEX271 at

   14:22. They did not interview candidates or make final hiring decisions. See DEX262 at 21:19–

   24; DEX271 at 14:22; see D.I. 257-3 at 2–4. The hiring decision was solely Talkdesk’s. See

   DEX262 at 44:21–24.

          Additional assertions made by Genesys on pages 4–5 are incorrect and immaterial:

         Doug Cahhal was not solicited by Manno and only became an employee of Talkdesk in
          2019 after he was terminated by Genesys. Cahhal Dep. at 8:20–9:3, 14:17, Feb. 10,
          2021. Krogman was an employee of Five9, which is a competitor to Genesys. DEX288
          at 81:7–82:7, Nov. 5, 2020. Manno provided LinkedIn profiles for Cahhal and Kuntz
          from which Talkdesk could assess for itself if it wanted to interview the individuals for
          any positions. See D.I. 258-5 at 4. Manno did not recruit Morales, Tews, or Holloway.
          DEX268 at 37:10–17, Nov. 15, 2019.

         Strahan likewise did not solicit anyone. D.I. 183-8 ¶ 18. He let Holloway know he was
          leaving; Holloway expressed interest in learning more. DEX259 at 137:2–12, October
          21, 2020. Strahan thus provided a link to a LinkedIn profile or Holloway to Talkdesk’s
          recruiting team so that Talkdesk could determine if it wanted to hire him. See D.I. 257-4
          at 2. Strahan also provided links for LinkedIn profiles of Tews and Mann from which
          Talkdesk could assess the candidates. See D.I. 258-31 at 2, 4. Strahan did not “solicit”
          Tews or Mann or Sparks. See DEX259 at 114:19–115:8; D.I. 183-8 ¶ 18. While Strahan
          also passed information to/from Tews regarding the Talkdesk offer, he did not make the
          decision to hire Mr. Tews—nor could he have done so. See DEX259 160:1–161:12; see
          D.I. 257-10 at 2; DEX262 at 44:21–24. Strahan likewise passed along sales engineer’s
          LinkedIn profiles as referrals for Talkdesk’s consideration. See D.I. 261-2 at 2.

         Hertel spoke to only two Genesys employees (both friends) about his decision to move to
          Talkdesk prior to leaving Genesys: Morales and Flannery. D.I. 259-6 at 27:14–
          19. Hertel had no hiring authority at Talkdesk. DEX271 at 14:22. Morales was not
          recruited by Hertel; she had been sourced previously by Talkdesk through LinkedIn.
          DEX270 at 42:16–24; DEX267 at 45:21–46:15. Flannery (now Combs) chose not to
          leave after interviewing with Talkdesk. DEX256 at 73:15–74:8. Hertel spoke to other
          individuals who were not employed by Genesys in August–September 2018. D.I. 259-6
          at 27:20–30:25. He did not “solicit” them to Talkdesk. Id. at 29:6–9. His “involvement
          was giving them to the talent team.” Id. Some of those non-Genesys individuals were
          eventually hired by Genesys. See id. at 28:5–17.




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          Candidates offered by Talkdesk in August and September 2018 were interviewed and

   approved by Talkdesk’s recruiting team. DEX262 at 19:5–21:2, 26:4–13, 44:12–46:15; DEX271

   at 14:22; D.I. 259-6 at 29:6–9. This was an extensive process with which Manno, Strahan, and

   Hertel had no direct involvement other than providing recommendations for Talkdesk’s

   consideration. D.I. 259-6 at 29:6–9; DEX262 at 19:5–21:2 (“sourcing team would have engaged

   on sourcing”), 26:4–13, 44:12–46:15; DEX267 at 31:14–32:25; D.I. 183-8 ¶ 18; D.I. 183-6 ¶¶

   25–26; DEX288 25:21–24.

                 G. While Still Employed As Genesys Sales Leaders, Manno, Strahan, And
                    Hertel Undertook Other Activities For Talkdesk’s Benefit In Competition
                    With Genesys.

          Defendants dispute Genesys’s alleged material facts. Manno, Strahan, and Hertel each

   provided notices of separation and cooperated with Genesys leadership in order to close out

   remaining tasks and smoothly exit the organization. DEX273 at 169:11, 171:9–172:18, 178:25–

   179:4, 181:2–184:5, 246:22–24; D.I. 183-8 ¶¶ 13–14; D.I. 183-5 ¶ 13. Manno, Strahan, and

   Hertel were not agents of Talkdesk or compensated by Talkdesk during their recruitment. See

   DEX288 at 58:7–21; see also D.I. 257-2 at 4; D.I. 257-21 at 4. Despite giving notice in mid-

   September, Manno was requested to stay until the end of the third-quarter—which he did.

   DEX273 at 179:14–180:16; D.I. 183-6 ¶ 15. Manno and Hertel completed their third-quarter

   activities for Genesys. D.I. 183-6 ¶ 15; D.I. 183-5 ¶ 13. Each began working for Talkdesk on

   October 1st. Id. Strahan officially became an employee of Talkdesk on September 17th, only

   after having completed all tasks for Genesys and informing Genesys that he was taking his

   earned paid two-week leave. D.I. 183-8 ¶¶ 13–15. He performed no further work for Genesys

   during his two-week leave. Id. He likewise did not speak to any Talkdesk customers or compete

   with Genesys during his two-week leave. Id.

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          Manno did not have a Talkdesk laptop or access to Talkdesk email while still working for

   Genesys. DEX288 at 79:6–19. Manno, Strahan, and Hertel each signed non-binding offers of

   intent, which is standard in the industry. See DEX254 at 63:16–18. Genesys does the same. Id.;

   see also DEX273 at 123:19–124:18. During Manno’s interview process, he provided his

   thoughts on a high-level structure for the sales organization at Talkdesk. See D.I. 257-29 at 2–3;

   DEX288 at 58:22–61:11. He was not compensated for this activity. See DEX288. Providing

   this type of information is typical in the recruiting process, especially for a prospective sales

   leader. See DEX273 at 31:24–32:12.

          Neither Manno nor Strahan had any direct involvement in the Bank of Hawaii (“BoH”)

   deal while at Genesys. DEX268 at 81:19–21; DEX259 at 81:9–20; DEX269 at 244:17–19.

   Strahan did not comment on the BOH sales proposal while he was on his two-week leave with

   Genesys. D.I. 183-08 ¶ 14; see DEX259 at 157:9–21, 164:21–167:21. Strahan also never

   attended any in-person meetings with BoH (at any point of time). Id. He attended a

   videoconference with BOH as a training exercise, but did not speak or provide any input to

   Talkdesk or BOH on the videoconference. D.I. 183-8 ¶ 15; DEX259 at 157:9–21. On Saturday,

   September 29, 2018—after his two-week leave had ended with Genesys—Strahan provided

   information readily available in the industry to Talkdesk regarding Talkdesk’s approach to BoH.

   DEX259 at 164:5–167:21; see D.I. 261-5; D.I. 183-8 ¶¶ 21–30.

          BOH considered Talkdesk and other CCaaS providers in the 2018 timeframe to replace

   the system that Genesys sold to BOH in 2016. DEX269 at 183:6–9, 189:7–12. BOH decided to

   stay with Genesys because of the sunk costs it had already put into the system Genesys sold it in

   2016. See DEX269 at 201:6–22. Any reduction in price for the system sold by Genesys in 2018

   to BOH was not due to competing offers from Talkdesk or other CCaaS competitors. Id.

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   Instead, any discount was done in order to compensate BoH for the system Genesys sold to BoH

   in 2016 that did not perform as expected. See DEX269 at 201:6–15, 204:4–18.

                 H. Manno Informed Talkdesk’s Head Of Talent He Had An Employment
                    Agreement With Genesys And Needed To Be “Very Careful” As It Was
                    “Pretty Clear On Doing Work For Anyone Else While Employed.”

          Defendants dispute Genesys’s alleged material facts. Manno was not aware that he had

   any specific employment agreement with Genesys or that his nearly two-decade-old agreement

   with InIn applied to him at Genesys. D.I. 183-6 ¶¶ 1–4. Manno did not recall any terms of his

   2004 agreement with InIn in 2018. See D.I. 183-6 ¶¶ 1–4. Manno never provided any

   employment agreement to Talkdesk. DEX262 at 13:12–14:1; DEX263 ¶¶ 3–4. Manno’s passing

   reference to an “employment agreement” in an email in June 2018 was based on his general

   understanding that he could not “work for anyone else while employed” by Genesys. Id. ¶¶ 5–6.

   Manno was not aware of any written employment agreement or applicable restrictive covenants.

   Id. ¶¶ 4–6; see also D.I. 258-29 at 2. Likewise, Strahan did not provide any employment

   agreement to Talkdesk. D.I. 183-08 ¶¶ 2–3; DEX259 at 83:8–85:10; DEX262 at 13:12–14:1.

   Strahan was not aware that his 2000 InIn agreement applied to his employment with Genesys,

   and he did not have a copy of the agreement in 2018. D.I. 183-08 ¶¶ 2–3.

          Genesys never told Manno or Strahan that their prior employment agreements applied at

   Genesys. DEX254 at 18:7–17. Genesys instead purposefully stored that agreement in a locked

   room inaccessible to Manno and Strahan. Id. at 15:17–16:5. Genesys did not provide the

   agreements at issue in this case until after Manno and Strahan ended their employment with

   Genesys. Id. at 15:9–16, 16:6–12, 16:19–4.

                 I. While Still Employed As Genesys Sales Leaders, Manno, Strahan, And
                    Hertel Provided Talkdesk With Genesys Confidential Information Used
                    To Compete With Genesys.

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          Defendants dispute Genesys’s alleged material facts. Genesys’s Senior Vice President of

   Sales and Field Operations for North America admits that just because a Genesys document has

   the terms “confidential” or “internal use only” markings on it does not mean that the information

   has not been provided to the industry. DEX273 at 66:22–70:8; DEX274. Storing information on

   the Genesys system likewise does not make it “confidential.” DEX292 at 17:18–22

          Genesys touts Uber as a customer, and Uber employees have spoken at Genesys industry

   events about why Uber chose Genesys over Genesys’s competitors. DEX273 at 43:16–45:8,

   125:14–128:4 (Uber spoke at a public facing event); DEX275. Uber is free to share any details

   about its relationship with Genesys, including its contract terms, with anyone it sees fit. See

   DEX273 at 125:14–128:4, 132:15–23. Talkdesk had also competed with Twilio (with whom

   Genesys competed for the Uber deal) and was aware that certain technology was helpful when

   competing against Twilio. DEX271 at 60:24–61:11; see D.I. 258-21 at 2.

          Talkdesk started discussions with BoH in March 2018. DEX264. BoH provided

   information to Talkdesk throughout the sales cycle in an effort to get the best possible deal. See

   DEX271 at 38:23–39:1, 62:22–63:5. The information provided by Hertel on September 11, 2018

   was available to Talkdesk directly from BoH. See DEX265; DEX266; DEX271 at 38:18–39:1,

   53:3–19, 62:4–63:5 (“Teik was sharing all this information with me”). There is no evidence that

   Talkdesk did anything with the readily ascertainable information that Hertel provided to

   Talkdesk on September 11, 2018. See DEX271 at 62:19–63:5. Further, while Genesys and BoH

   entered into a BoH-written non-disclosure in 2016 relating to the preceding sales cycle, there is

   no evidence that the 2016 NDA applied to the new 2018 sales cycle. See D.I. 168-02 at 134–35.

   Indeed, BOH was forthcoming with information to get the best deal from the CCaaS vendors that

   it was considering in 2018. See id. at 38:23–39:1, 62:22–63:5; DEX269 at 192:12–21.

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                  J. While Still Employed As Genesys Sales Leaders, Manno, Strahan, And
                     Hertel Conducted Their Talkdesk Activities In Secret.

          Defendants dispute Genesys’s alleged material facts. Manno, Strahan, and Hertel were

   under no obligation to provide information about their (or other’s) future job ambitions to

   Genesys. See DEX288 at 149:15–18. Manno, Strahan, and Hertel each provided timely notice

   and sought to leave Genesys under good terms. DEX273 at 169:11, 171:9–172:18, 178:25–

   179:4, 181:2–184:5, 246:22–24; D.I. 183-8 ¶¶ 13–14; D.I. 183-5 ¶ 13. Following notice to

   Genesys, Genesys human resources did not ask where the employees would be employed next.

   DEX254 at 56:11–57:2. Instead, Genesys was only interested in retaining the employees long

   enough to close out the third quarter, and accordingly requested that the employees remain

   employed with Genesys through the end of September. DEX273 at 171:9–172:18; DEX288 at

   158:1–2. Manno and Hertel both worked diligently to close out the third quarter. DEX273 at

   180:17–184:5. Genesys did not care where these employees would be employed following their

   departure from Genesys. See DEX254 57:16–25. As stated by Genesys’s North American

   Human Resources professional, she did not ask sale employees for this information because it

   was “irrelevant.” Id.

          Strahan resigned from Genesys on September 14, 2018 and took his two-weeks paid time

   off that he was entitled based on his 18-years of service with InIn/Genesys. D.I. 183-08 ¶ 13.

   Strahan assigned his responsibilities to others within Genesys and turned in his Genesys

   equipment. See id. ¶¶ 13–14; DEX259 at 102:20–103:10. He did not interface with any Genesys

   customers after this point of time. D.I. 183-08 ¶¶ 13–14; DEX259 102:25–103:4.




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                  K. In The Fall Of 2018 Talkdesk Hired Many From Genesys’ Mid-Market
                     Sales Team.

          Defendants dispute Genesys’s alleged material facts. Employees in the CCaaS industry

   move around relatively frequently to other companies within the industry. See DEX262 at

   36:11–13; DEX254 at 40:15–23. Genesys itself routinely hires employees from its industry

   competitors. DEX254 at 40:20–23. Genesys also routinely loses sales employees to other jobs.

   Id. at 55:22–56:3. The year 2018 was not an unusual year in terms of total number of employees

   who decided to leave their employment from Genesys. See id. at 30:5–23. Genesys does not

   track where those employees end up working. See id. at 56:8–57:25.

          Genesys is a legacy competitor in the CCaaS space with over 5,000 employees. Id. at

   23:10–13; DEX273 at 33:1–6 (“north of over 6,000 employees”). In 2018, Genesys had over

   400 North American sales professionals. DEX254 32:19–22; DEX273 at 10:8–17. Between 30

   to 40 of those worked specifically for the mid-market sales team that Genesys accuses of being

   “raided” in this case. DEX254 33:23–34:2.

          In 2018, Talkdesk was a relatively small company, but growing rapidly. EX252 ¶ 55;

   DEX267 at 16:3–9. This success was propelled, at least in part, by Talkdesk’ recognition in the

   marketplace as a visionary leader in the Gartner Magic Quadrant in 2017. Talkdesk did not use

   headhunters, but instead had a dedicated recruiting team for sourcing, interviewing, and hiring

   potential candidates. See DEX262 at 20:25–21:2. The Talkdesk recruiting team was well aware

   in 2018 of its competitor employees through sources such as LinkedIn. See id. at 43:25–44:7;

   DEX267 at 73:18–74:13.

          In November 2018, Talkdesk announced that it had made 53 industry hires in 2018—

   twenty (20) from Genesys; seventeen (17) from NICE-InContact; four (4) from Five9; four (4)


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   from 8x8; and eight (8) other hires from competitors. DEX289. Of the fifteen former Genesys

   employees hired by Talkdesk from September 2018 to February 2019, only nine of those

   employees worked for the North American mid-market sales team at Genesys. DEX290;

   DEX286 at 21:5-22. Only five of the fifteen employees hired between September 2018 to

   February 2019 remain currently employed by Talkdesk. DEX290. Hertel and Strahan are not

   currently employed by Talkdesk. Id.

                  L. After Leaving Genesys, Strahan Provided And Talkdesk Used A Highly
                     Confidential Genesys List Of PureCloud Customer Data To Target
                     Genesys Customers.

          Defendants dispute Genesys’s alleged material facts. The identity of Genesys’s

   customers is readily ascertainable from the Genesys’s own public materials, the customer’s

   themselves, or through third-party sources. DEX252 ¶¶ 21, 25, 29, 52, 54. Genesys’s

   “PureCloud Customer Data” was a snapshot of PureCloud customers as of sometime in 2018,

   which includes only customer names, initial contract dates, and seat counts. See D.I. 257-28 at

   3–25. It does not contain any customer contacts, pricing information, or agreement length. Id.

   The list was widely circulated within Genesys, and Genesys does not know who created it or to

   whom it was distributed within Genesys. DEX280 at 5–6. The list does not contain

   confidentiality markings. DEX286 at 65:19–23; see D.I. 257-28 at 3–25. The 2018 list does not

   contain renewal dates; thus, someone looking at the list cannot determine when the contract will

   renew or whether it has already expired. See DEX273 at 131:17–134:22; DEX276 at 18:2–19:9.

   Indeed, there are customers on the list that are no longer Genesys customers. DEX273 at

   134:20–24; DEX276 at 13:7–14:6.

          Genesys touts its customers on its website, including why the customer chose Genesys,

   the number of agents the customer has, and details regarding the Genesys product architecture.

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   DEX252 ¶¶ 25–26, 52. Genesys invites its customers to share their experience with the public

   on its website and at industry events. DEX273 at 80:9–82:20 (discussing Ticketmaster customer

   story), 43:16–45:8, 125:14–128:4 (Uber customer presenting); DEX275; DEX281; DEX252 ¶¶

   25–30. Customer information is ubiquitous in the CCaaS industry. DEX252 ¶ 25; see also D.I.

   199 at 13.

          There is no evidence that Talkdesk utilized the list or “‘uploaded’ it to the Talkdesk CRM

   database. DEX282 ¶ 10. Indeed, Talkdesk’s CRM software has a name entry within the system

   for less than 12% of the customers on the PureCloud list. Id. Of those, the vast majority were

   added to the Talkdesk system before October 2018. Id. Moreover, despite years of extensive

   and burdensome discovery, Genesys cites to no evidence that any information on the list was

   ever used to approach a single Genesys customer. Nor does Genesys attempt to identify a single

   customer from the list that has moved from Genesys to Talkdesk. This is not surprising. Only

   two of the customers on the list have ever been Talkdesk customers—and Talkdesk’s

   relationship with each such customer predates the 2018 list. Id. ¶ 11.

                  M. After This Lawsuit Began, Talkdesk Expands Its Investment In Lead
                     Generation But Is Still Unable To Replicate The PureCloud List With
                     Publicly Available Data.

          Defendants dispute Genesys’s alleged material facts. Talkdesk has never attempted to

   “replicate” the 2018 PureCloud list. Indeed, Talkdesk’s lead generation program is focused on

   identifying and marketing to viable potential leads—not leads who are currently committed to

   other competitors. Id. ¶ 5. Talkdesk has run general reports of Genesys customers from its third-

   party databases. Id. Alamgir ran a promotional search in late 2019 on one of the software

   platforms sourced by Talkdesk. Id. ¶ 6. This was not an attempt to “replicate” anything but was

   simply a rudimentary search to gather contact information for a marketing promotion. Id. The

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   search was limited to larger customers in certain regions and resulted in information for over 250

   Genesys PureCloud customers. Id.; see D.I. 261-33 at 2–5. Another basic search from another

   database provided customer names, contact information, enterprise size, and other specific

   information for over 3,400 Genesys customers. DEX282 ¶ 5; DEX283; DEX284. From

   enterprise size, a salesperson can readily ascertain the agent size (“seat count”) of the

   organization. See DEX273 at 111:16–112:19.

          Salaries and marketing budgets for Talkdesk’s demand-generation team are directed to

   marketing efforts toward potential, viable customers; identifying competitor’s customers is not a

   focus of the team’s efforts. DEX282 ¶¶ 7–8. Further, the commercial software from which

   detailed information regarding over 3,400 Genesys customers can be accessed is a fraction of

   Genesys’s demand-generation software budget. Id. ¶¶ 5–6. And beyond such software, it is

   undisputed that customer information can be gathered from many readily available sources.

   DEX252 ¶¶ 25–30, 52–54; see also D.I. 199 at 12–13.

                  N. After Leaving Genesys, Manno And Strahan Provided Talkdesk With
                     Genesys Pricing And Discounting Information That Talkdesk Used To
                     Compete With Genesys.

          Defendants dispute Genesys’s alleged material facts. Discounting policies are generally

   known and available in the industry. DEX252 ¶¶ 21, 29, 51; see also DEX256 at 117:4–10. It is

   not unusual for a potential customer to disclose offers among competitors to seek a better deal.

   DEX256 at 117:4-10. While Manno was not aware of a specific discount policy at Genesys, he

   knew generally that Genesys publicly offered a free month, which equated to an approximate

   percentage discount. See D.I. 257-17 at 2. Genesys advertises its pricing publicly, including its

   free month and trial offers. DEX252 ¶¶ 21, 29; DEX259 45:25–46:4; DEX278; DEX279.

   Genesys does not provide specific training to alert its sales employees as to what specific type of

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   technical or pricing information, if any, is “confidential.” See DEX273 at 57:15–58:7 (not sure if

   employees know what information is confidential); DEX254 at 79:14–80:9, 82:4–83:12;

   DEX286 at 119:2–120:8.

          Any competitor in the industry could gain insight into Genesys’s discounting policies

   based on experience competing for business. DEX252 ¶ 51. Information as to specific discounts

   is provided to customers, who then use that information to secure the best deal. Id. ¶ 29;

   DEX256 at 117:4-10. BoH provided discount information to Talkdesk in order to get the best

   deal. See DEX265; DEX266; DEX271 at 38:18–39:1, 53:3–19, 62:4–63:5 (“Teik was sharing all

   this information with me”); see also D.I. 261-6 at 1. Strahan did not work on the BoH deal while

   at Genesys and was not aware of any specific terms of that deal. See DEX259 at 81:13–17.

                  O. After Leaving Genesys, Manno, Strahan, And Hertel Provided Talkdesk
                     With Additional Genesys Information That Talkdesk Used To Compete
                     With Genesys.

          Defendants dispute Genesys’s alleged material facts. Genesys’s predecessor company,

   InIn, provided public disclosure of its finances and customers. DEX273 at 114:23–118:22.

   Sales employees, in presentations in 2015 or 2016, provided public disclosure of Genesys and

   Interactive Intelligence customers and financial information. See id. at 117:23–119:25; DEX85.

   Genesys provides a “comfort letter” to prospective customers. DEX276 at 33:21–34:24.

   “Comfort letters” are not unique to Genesys. DEX276 at 35:19–36:25. Genesys finds value in

   the letters because they are shared with prospective customers to comfort them regarding

   Genesys’s financial condition. Id. at 34:5–24. Genesys enters NDAs only in limited

   circumstances. DEX286 at 150:20–151:10 (“40 to 50 percent of the opportunities”), 155:6–14.

   Talkdesk did not use any of Geneys’s information from the Genesys “comfort letter”; Manno



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   only provided a copy of the letter as an example of other such letters in the industry that are

   provided to prospective customers. See id. at 35:9–38:15; D.I. 257-16 at 3.

            Hertel downloaded his Genesys .pst email file to ensure he was paid commission. See

   D.I. 183-05 ¶ 16. The downloaded .pst file was not used by Hertel or Talkdesk. See id. ¶ 17.

   The .pst file was gathered and isolated by an independent third-party forensic data expert in 2019

   (overseen by Genesys and Talkdesk). Id. ¶¶ 18–19.

            NPS data is information that comes from customers. DEX252 ¶ 66. This type of data is

   readily available in the CCaaS industry from websites and third-party sources. DEX252 ¶¶ 66–

   69; see D.I. 182-13 at 2; D.I. 182-14 at 2–3. NPS information becomes outdated quickly and is

   re-collected from customers on an annual basis. DEX252 ¶ 68; DEX276 at 22:21–23:17;

   DEX273 at 98:20–101:23. The NPS data at issue in this case is from 2017 and is outdated.

   DEX273 at 98:20–101:23. Further, there is no evidence that the NPS data at issue in this case

   was ever seen or used by anyone at Talkdesk for any purpose. DEX276 at 24:6-21; DEX271 at

   81:3–82:1.

                   P. Genesys Protects Its Confidential Information.

            Defendants dispute Genesys’s alleged material facts. The storage of information on

   Genesys’s system does not make it “confidential” or “trade secret.” DEX258 at 17:18–22.

   Genesys publicizes its pricing, customers, architecture, and discounting (e.g., free month) on its

   website. DEX252 ¶ 20; DEX259 at 45:25–46:4; D.I. 182-4; D.I. 182-6. Genesys does not

   prohibit its employees from sharing their own personnel information. DEX260 at 18:4–21,

   19:7–12. Indeed, Genesys does not know what type of information its employees provide to

   prospective employers via their resume or LinkedIn profiles or during interviews. Id. at 18:22–

   19:12.

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          Genesys provides no separate training for its sales employees describing what

   information is considered as “confidential” or “trade secret.” DEX254 at 79:14–80:9, 82:4–

   83:12, 89:9–90:7. Genesys enters into NDAs with less than 50% of prospective customers.

   DEX286 at 150:20–151:10. Genesys provides pricing and discounts to most customers without

   NDAs in place. DEX273 at 71:8–72:3. Genesys publicizes its pricing information online, and

   discounting practices are generally known in the industry. DEX252 ¶¶ 49–51; see also DEX269

   at 249:14–251:17.

                  Q. Genesys Suffered Damages As A Result Of Defendants’ Wrongdoing.

          Defendants dispute Genesys’s alleged material facts. The turnover at Genesys in 2018

   was not abnormal from other years. See DEX254 at 27:24–28:15, 28:24–30:22. Genesys has a

   15-person, full-time internal recruiting team in place that handles finding replacement

   employees. Id. at 30:23–31:18. Genesys’s recruiting team replaced Manno, Strahan, and Hertel

   with experienced employees within Genesys. DEX286 at 53:3–57:12. Genesys leadership “half

   expected” Hertel to leave and had candidates in mind to replace him. DEX287. Genesys was

   considering terminating Strahan. DEX273 at 169:22–170:21; DEX268 at 36:10–19. Others

   feared being terminated, and Cahhal was not employed by Genesys when was hired by Talkdesk.

   DEX269 at 258:17–259:5; DEX272 at 14:1–15:1.

          Most employees who left Genesys were replaced with experienced Genesys employees.

   DEX286 at 53:3—57:12. Genesys also re-assigned prospective customers to new sales

   associates when others left in 2018. Id. at 159:12–160:2. All but two of those who left Genesys

   had not made “numbers” the prior year. See DEX289 at 2. Indeed, Genesys has seen increasing

   sales since the employees alleged to have been “raided” in this case left its employment. Id. at

   121:1–122:23, 161:18–162:16; DEX253; DEX291.

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          Besides PowerSchool, Genesys does not point to a single customer it alleges it has lost

   due to the alleged wrongdoings in this case. See DEX286 at 157:11–158:16. Genesys’s

   assertion that “confidential” information was used by Talkdesk to win the PowerSchool deal is

   based solely on a sales employee’s assumption (i.e., “educated guess”). DEX269 at 216:5–

   217:9. In contrast, the master agent working the deal testified that PowerSchool chose Talkdesk

   because they offered the better product—not because of any alleged misappropriation of

   information. DEX292 at 27:23–30:18, 33:4–8. Hertel had no involvement in the PowerSchool

   deal aside from attending a single lunch meeting where he did not provide any confidential

   information to PowerSchool. D.I. 183-05 ¶¶ 22–23.

          BoH was retained by Genesys as a customer in 2018. DEX269 at 192:22–193:18, 199:9–

   201:22. Genesys did not change any terms of its deal with BoH based on competition with

   Talkdesk. Id.

       III.   STATEMENT OF MATERIAL FACTS NOT IN DISPUTE CONFIRMING
                   DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

          The following undisputed facts are material and resolve this case in favor of Defendants:

         Material Undisputed Fact (“MSF”) #1: Talkdesk recruited sales employees from
          across the CCaaS industry in 2018, hiring employees from NICE-InContact, 8x8, Five9,
          and other competitors. DEX262 at 20:10–12, 22:9–11, 36:11–15; DEX289; DEX273 at
          224:14–225:4; see also D.I. 257-7 at 2–3.

         MSF #2: Talkdesk already had deep knowledge of potential candidates in the industry in
          early 2018 based on its recruiting team’s internal investigations. See DEX262 22:4–16;
          DEX267 at 66:20–68:4, 73:22–74:13.

         MSF #3: Genesys’s annual employee turnover for North American sales associates in
          2018 was not different from other years. DEX254 at 27:24–28:15, 28:24–30:22.

         MSF #4: Genesys has a fully-staffed internal recruiting team that handled interviewing
          and finding replacements for its North American sales team in 2018. Id. at 30:23–31:18.




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        MSF #5: Genesys hires from competitors, as do other companies within the CCaaS
         industry. DEX273 at 220:4–25; DEX289.

        MSF #6: The majority of the employees who left Genesys in 2018 to work for Talkdesk
         were replaced with experienced Genesys employees. DEX286 at 53:3–57:12.

        MSF #7: Genesys re-assigned customer leads to other Genesys sales employees upon
         the departure of employees from Genesys in 2018. Id. at 159:12–160:2.

        MSF #8: Manno, Strahan, and Hertel were not paid by Talkdesk for any activities prior
         to beginning work with Talkdesk. See DEX288 at 58:7–21; see also D.I. 257-2 at 4; D.I.
         257-21 at 4.

        MSF #9: Manno, Strahan, and Hertel did not have hiring authority prior to being
         employed by Talkdesk. See DEX271 at 14:22.

        MSF #10: The Talkdesk internal recruiting team vetted and decided on who it would
         make offers to in 2018, and such offers had to be approved by Talkdesk’s CEO. See id.;
         DEX262 at 19:5–21:2, 26:4–13, 44:12–46:15; DEX267 at 31:14–32:25; D.I. 183-8 ¶ 18;
         D.I. 183-6 ¶¶ 25–26; D.I. 259-6 at 29:6–9; DEX271 at 18:6–14.

        MSF #11: BoH provided Talkdesk information about Genesys’s proposed services and
         pricing in 2018. See DEX265; DEX266; DEX271 at 38:18–39:1, 53:3–19, 62:4–63:5; see
         also D.I. 261-6 at 2.

        MSF #12: Genesys did not alter its pricing for BoH based on any competition from
         Talkdesk; the pricing in the 2018 proposal was discounted because of the prior product
         sold to BoH in 2016. DEX269 at 193:12–194:4, 200:18–201:9.

        MSF #13: Manno, Strahan, and Hertel did not have a copy of their InIn agreements to
         provide to Talkdesk when they were recruited by Talkdesk. See D.I. 183-05 ¶ 1; D.I.
         183-06 ¶¶ 1–4; D.I. 183-08 ¶¶ 2–3.

        MSF #14: Manno, Strahan, and Hertel did not know the terms of their prior InIn
         agreements or that they applied to their employment with Genesys. D.I. 183-05 ¶¶ 1, 7;
         D.I. 183-06 ¶ 2; D.I. 183-08 ¶¶ 2–3.

        MSF #15: Genesys kept the old InIn agreements in a locked room inaccessible to Hertel,
         Manno, and Strahan. DEX254 at 16:3–5, Feb. 4, 2021; DEX260 at 22:16–23:2.

        MSF #16: Genesys did not notify either Strahan or Manno that the InIn agreements
         existed or inured to Genesys’s benefit. D.I. 186-06 ¶ 3; D.I. 186-08 ¶¶ 2–3; see also
         DEX254 at 17:11–18:17, 63:9–11, Feb. 4, 2021.

        MSF #17: Manno, Strahan, and Hertel were never asked by human resources at Genesys
         where they were going to be employed after leaving Genesys. DEX254 56:11–57:2.

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        MSF #18: Genesys touts information about its customers and products on its website, in
         prospective customer pitches, and at industry events to promote and encourage other
         customers to utilize its products. DEX252 ¶¶ 25–31; DEX273 at 80:13–82:20; DEX293.

        MSF #19: Genesys’s customer stories provide detailed information about Genesys’s
         customers, when they became a customer, and the customer’s seat count/size. DEX252 ¶
         25; DEX273 at 80:9–82:20 (discussing Ticketmaster customer story); DEX293.

        MSF #20: Information in the contact center industry is public with abundant trade
         publications and product literature available to the public. D.I. 199 at 13; DEX252 ¶¶
         21–27.

        MSF #21: Genesys’ cloud architecture and infrastructure are known in the contact center
         industry and are available to the public on Genesys’ website. D.I. 182-6; D.I. 182-7; D.I.
         182-8 to 182-12; D.I. 182-16; D.I. 182-19; D.I. 199 at 13; DEX252 ¶¶ 21–24, 42–45;
         DEX277.

        MSF #22: Genesys does not enter NDAs with all of its customers; it enters them in
         limited circumstances. DEX286 at 150:20–151:10 (“40 to 50 percent of the
         opportunities”).

        MSF #23: Genesys routinely provides prospective customers price and proposed
         discount information when the prospective customer is not under an NDA. DEX273 at
         71:8–72:3.

        MSF #24: Prospective customers do not choose between competitors solely based on
         price. DEX269 at 181:9–12.

        MSF #25: Genesys’s customers are free to provide information about their relationship
         with Genesys to anyone in the industry. DEX273 at 43:16–45:8, 80:9–82:20, 125:14–
         128:4, 132:15–23; DEX275; see D.I. 182-8 to 182-12.

        MSF #26: Genesys’ pricing and outage information is available on its website. D.I. 199
         at 13; DEX252 ¶¶ 45, 49–51; D.I. 182-4; D.I. 182-6; DEX259 at 45:21–46:12.

        MSF #27: Genesys has offered a free month “discount” on its website. DEX273 at
         104:12–19; DEX278; DEX279; DEX259 at 45:21–46:12.

        MSF #28: General discounting rates for CCaaS competitors are known in the industry.
         See DEX259 at 45:25–46:4, Oct. 21, 2020; DEX252 ¶¶ 49–51; DEX269 at 249:14–
         251:17.

        MSF #29: Genesys customers have published reviews online discussing Genesys’
         products, architecture, pricing, and outages. D.I. 199 at 13; see D.I. 182-8 to 182-12;
         DEX252 ¶¶ 27–30, 53.


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         MSF #30: Documents detailing information on Genesys’s product architecture, buyer
          personas, roadmaps, and positioning and messaging is available for public download
          online. D.I. 199 at 13; D.I. 182-20; DEX294; DEX295.

         MSF #31: InIn distributed information regarding the PureCloud architecture to the public
          in a 2015 white paper. D.I. 182-16; D.I. 199 at 13. This document included sections on
          Genesys’s use of AWS, overall architecture, reliability, scalability, onboarding, and
          technical features of PureCloud. D.I. 182-16.

         MSF #32: Genesys has publicly touted increased sales in the mid-market division and
          for cloud products since the employees departed in 2018. DEX286 at 121:1–122:23,
          161:18–162:16, Feb. 16, 2021; DEX253; DEX291.

                    IV.    ARGUMENT AND CITATION OF AUTHORITIES

          A “court shall grant summary judgment if the movant shows that there is no genuine

   dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

   R. Civ. P. 56(a). Genesys has not shown that it is entitled to summary judgment. In contrast, as

   set forth herein, Defendants are entitled to summary judgment on all claims.

   A.     Claims of Tortious Interference with Contract against Manno and Talkdesk
          (Counts 1 and 34)

          Tortious interference requires knowledge of an enforceable contract and intentional

   conduct to cause the breach without justification. See Konecranes, Inc. v. Davis, No. 1:12-CV-

   01700-JMS, 2013 WL 1566326, at *2 (S.D. Ind. Apr. 12, 2013). Because Genesys cannot prove

   these elements, Genesys’s interference claims fail as a matter of law.

          1.      Claim of Tortious Interference with Contract against Manno (Count 1)

          Genesys bases its claim of tortious interference as to Manno on alleged knowledge of

   Strahan’s employment agreement (D.I. 266 at 40).3 However, there is no evidence that Manno



   3
    Genesys does not plead breach of contract in this case by anyone other than Strahan and
   Manno. Thus, any claims of tortious interference as to Hertel or other former Genesys
   employees necessarily fail.
                                                   22
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   knew of any enforceable provisions of the InIn agreement asserted against Strahan in this case.

   See MSF #14.4 Indeed, evidence shows that Strahan himself was not aware of the terms of the

   InIn agreement—or that the agreement still applied during his time at Genesys. MSF #13–16.

   Accordingly, even if Strahan breached his InIn agreement (which he did not, as explored in

   Section IV.B below), it is factually impossible that Manno could have intentionally encouraged

   Strahan to violate provisions of an agreement unknown to both of them. See id.

          Genesys further does not attempt to support that Manno’s actions as to Strahan were

   directed “exclusively to the injury and damage of another,” as required under Indiana case law.

   See Bilimoria Computer Sys., LLC v. Am. Online, Inc., 829 N.E.2d 150, 156–57 (Ind. Ct. App.

   2005); Morgan Asset Holding Corp. v. CoBank, ACB, 736 N.E.2d 1268, 1272 (Ind. Ct. App.

   2000) (collecting cases). Indeed, Manno did not “commandeer” Strahan to do anything, there is

   no evidence that Manno provided information to Strahan based on any desire to “damage”

   Genesys, and Strahan’s actions were of his own volitation. See DEX263 ¶ 25.

          2.      Claim of Tortious Interference with Contract against Talkdesk (Count 34)

          Genesys likewise cannot show tortious interference as to Talkdesk. Talkdesk was not

   aware of Manno’s and Strahan’s agreements, nor could it have been aware of any specific

   provisions of such agreements asserted in this case. See MSF #14–16. This confirms that the

   required “knowledge” condition for tortious interference is not met.

          Moreover, Genesys cannot prove Talkdesk “acted intentionally, without a legitimate

   business purpose” or “malicious and exclusively directed to the injury and damage of another.”




   4
    Citations to “MSF” throughout Section IV are to the undisputed material facts outlined in
   Section III.
                                                  23
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   Bilimoria Computer Sys., 829 N.E.2d at 156–57. Talkdesk is a competitor of Genesys who in

   2018 was investing in talent from across the industry. MSF #1; D.I. 266 at 1. Hiring to compete

   provides substantial justification under the law. See, e.g., Konecranes, 2013 WL 1566326, at *3.

   Indeed, that Talkdesk was motivated by its growing business needs—not “exclusively directed to

   the injury and damage” of Genesys—is determinative. Id.; Morgan Asset Holding Corp, 736

   N.E.2d at 1272 (collecting cases).

   B.     Claims of Breach of Contract against Manno and Strahan (Counts 2, 3, 4, 5, 6, 7, 14,
          18, 19, 20, 21, 22)

          Genesys pleads twelve (12) grounds of breach of contract as to Manno and Strahan. Each

   claim fails as a matter of law and should be dismissed.

          1.      Claim of Breach of Contract – Non-solicitation of Employees While Still
                  Employed against Manno (Count 2) and Strahan (Count 14)

          Genesys’s non-solicitation of employees claims were resolved over a year-and-a-half

   ago by this Court in view of binding Indiana Supreme Court precedent. D.I. 199 at 10 (“The

   contracts … similarly contain language … which has been held to be overbroad and

   unenforceable under Indiana law.”). No subsequent decision has overturned that binding

   precedent, and there is no basis to do so here. The Manno and Strahan non-solicitation

   covenants remain overbroad because they apply to all employees. See Heraeus Med., LLC v.

   Zimmer, Inc., 135 N.E.3d 150, 153 (Ind. 2019) (“[N]onsolicitation covenant is overbroad

   because it applies to all Zimmer employees.”) (emphasis added). And the Indiana Supreme

   Court has made clear that this type of overbreadth (extending to any employees) “cannot be blue-

   penciled” in a way that would render the provision reasonable under Indiana law. Id.

          Despite this, Genesys asks this Court to “blue-pencil” the provisions to apply to only

   “pre-employment” activity. D.I. 266 at 17 n.4. However, doing so would leave the offending

                                                  24
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   “any employee” language in the case—ignoring the very reason the Indiana Supreme Court held

   the restrictions to be overbroad. Further, Genesys’s passing argument that restrictions during

   employment have been found to be “more reasonable” is irrelevant.5 The court in Heraeus found

   the “all employee” language to be problematic because it prohibited the freedom of movement of

   any employees of the plaintiff without limiting to a legitimate protectable interest. Heraeus, 135

   N.E.3d at 153; see also Heraeus Med., LLC v. Zimmer, Inc., 123 N.E.3d 158, 167 (Ind. Ct.

   App.), transfer granted, opinion vacated, 132 N.E.3d 382 (Ind. 2019), and opinion aff’d in part,

   vacated in part, 135 N.E.3d 150 (Ind. 2019) (balancing “the interests of the individual employees

   in being able to compete freely in the employment marketplace.”). That problem would remain

   in Genesys’s proposed work-around—and Genesys does not attempt to address the applicable

   balance of interests.6 Because Heraeus remains the law, this Court should affirm its December




   5
     Genesys cites inapposite and non-precedential cases. None of the cases cited involved
   “nonsolicitation provisions” or the specific policy considerations present in Heraeus (i.e., the
   presence of language extending to “all employees”). Harrison, applying Illinois law, involved
   whether a non-compete expressly “limited to the period of service engaged for” was overbroad
   because it did not have a geographical limitation; it did not involve the public policy
   consideration at issue in Heraeus (i.e., other employee’s mobility). Harrison v. Glucose Sugar
   Ref. Co., 116 F. 304, 310 (7th Cir. 1902). Deutchland dealt with a Wisconsin franchise
   restriction that was expressly differentiated from those restrictions “which apply to employees
   during their employment and after their employment has terminated” because it applied “only
   during the term of the agreement.” Deutchland Enterprises, Ltd. v. Burger King Corp., 957 F.2d
   449, 452 (7th Cir. 1992). Thus, these cases dealt with other states’ laws on different facts and
   without regard to the specific policy considerations addressed by the Indiana Court of Appeals
   and Indiana Supreme Court in Heraeus.
   6
     The provision at issue in Heraeus also prohibited solicitation during employment. See
   Heraeus, 123 N.E.3d at 162. The Indiana Supreme Court nonetheless found the provision as a
   whole unenforceable because of the broad restriction on employee movement.
                                                   25
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   2019 decision and hold the non-solicitation restrictions that extend to “any employees”

   unenforceable.7

          Separately, even if this Court were to “blue-pencil” the provisions, the activity accused of

   Manno and Strahan does not rise to the level of “solicitation.” Talkdesk undertook an industry-

   wide search for new sales employees in 2018 and vetted each prospective employee through its

   normal recruiting channels. MSF #1, 10. Talkdesk already had deep knowledge of potential

   candidates in the industry based on its recruiting team’s investigations. See MSF #2. And

   Manno and Strahan had no authority to make hires on Talkdesk’s behalf. MSF #9. While there

   are instances where the Defendants provided recommendations and minimal insight into

   prospective employees, the involvement of the individual Defendants did not amount to

   solicitation or competition. Indeed, cases in Indiana establish that providing information about a

   new employer and facilitating introductions is not improper. See, e.g., Kopka, Landau & Pinkus

   v. Hansen, 874 N.E.2d 1065, 1070–71 (Ind. Ct. App. 2007) (balancing the concern for the

   “integrity of the employment relationship” against the “privilege of employees to prepare to

   compete against their employers without fear of breaching their fiduciary duty of loyalty” and

   finding that discussing employment and providing information was not actionable). Moreover,

   Genesys does not cite to any authority that providing a “recommendation” regarding or a

   “referral” for a potential recruit is tantamount to “solicitation.” As such, and as further supported

   in the factual discussion in Sections II.E.—II.F. above, Genesys’s attempt to show that Manno or

   Strahan “solicited” anyone at Genesys also fails.



   7
    The provision likewise fails because it is not limited in geographic scope. See, e.g., Vukovich v.
   Coleman, 789 N.E.2d 520, 525 (Ind. Ct. App. 2003) (“A covenant not to compete that contains
   no geographic limitation is presumptively void.”).
                                                    26
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           2.       Claim of Breach of Contract – Confidentiality against Manno (Count 3) and
                    Strahan (Count 18)

           Genesys does not distinguish its breach of confidentiality claims against Manno (Count

   3) and Strahan (Count 18) from its trade secret claims. D.I. 266 at 17 n.3. Thus, as discussed

   with regard to Genesys’s “trade secret” claims in Section IV.D. below, Genesys’s breach of

   confidentiality claims likewise fail. Each of Strahan and Manno’s agreements make clear that

   confidential information does not extend to information that is “generally known in the

   Company’s trade or industry….” D.I. 266 at 2 (citing Section 8[c]). As set forth in Section

   IV.D. below, Genesys cannot rebut the weight of evidence showing that the “information”

   claimed as “confidential” or “trade secret” is indeed information known and readily ascertainable

   in Genesys’s “trade or industry” through customers, industry analysts, lead-generation software,

   or other third-party sources in the contact center industry. The breach of confidentiality claims

   likewise fail.

           3.       Claim of Breach of Contract – Preparing to Compete During Employment
                    against Manno (Count 5) and Strahan (Count 20)

           Genesys also seeks to enforce provisions in Manno and Strahan’s InIn agreements that

   restricts the employee from “prepar[ing] in any manner to compete with the Company.” (D.I.

   266 at 18). Such provisions are overbroad and unenforceable. Central Ind. Podiatry, P.C. v.

   Krueger, 882 N.E.2d 723, 728–29 (Ind. 2008) (“[N]oncompetition covenants in employment

   contracts are in restraint of trade and disfavored by the law.”). More specifically, the provision

   improperly implicates activities that are harmless and allowed under the law. Coates v. Heat

   Wagons, Inc., 942 N.E.2d 905, 916 (Ind. Ct. App. 2011) (“Provisions in a covenant not to

   compete are invalid if they prohibit … activities that are seemingly harmless in relation to the

   protected interest.”); Seach v. Richards, Dieterle & Co., 439 N.E.2d 208, 214 (Ind. Ct. App.

                                                   27
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   1982). Indeed, “prepar[ing] in any manner to compete” ensnares a flood of permissible activities

   of at-will employees, including the right to interview and accept employment in a position with

   another company in any position—regardless of whether that company is currently or may

   possibly be a competitor in the future. As such, the provision is overbroad and unenforceable as

   a matter of law. See, e.g., Sharvelle v. Magnate, 836 N.E.2d 432, 437–39 (Ind. Ct. App. 2005).

          Further, the overbroad provision is inconsistent with Indiana public policy. Employees

   have a “privilege … to prepare to compete against their employers without fear of breaching

   their fiduciary duty of loyalty.” SJS Refractory Co., LLC v. Empire Refractory Sales, Inc., 952

   N.E.2d 758, 768 (Ind. Ct. App. 2011). Thus, because Indiana courts protect an employee’s right

   to “prepare to compete,” a provision that seeks to prohibit such privileged activity is not

   reasonably related to a protectible interest and is likewise void.8 Buffkin v. Glacier Grp., 997

   N.E.2d 1, 11 (Ind. Ct. App. 2013) (Indiana courts “strike down any such restrictive covenants

   which are the least bit overly broad.”).

          4.      Claim of Breach of Contract – Competing During Employment against
                  Manno (Count 4) and Strahan (Count 19)

          Genesys alternatively seeks to enforce provisions in Manno and Strahan’s InIn

   agreements restricting each from “becom[ing] employed by or serv[ing] as an agent, independent

   contractor or representative of any business which competes with the Company.” D.I. 266 at 18.

   This provisions likewise is overbroad and unenforceable. Indeed, it prohibits employment in any

   manner with “any business that competes” with Genesys—regardless of the employees past or

   future position within the new company. Again, such overbroad “non-compete” covenants that




   8
    The provision likewise has no geographic restriction, confirming it is unenforceable. See
   Vukovich, 789 N.E.2d at 525.
                                                    28
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   do not narrowly focus on restrictions tied to a protectable interest and instead restrict any

   employment within a competing company have been held to be unenforceable in Indiana. See,

   e.g., Coates, 942 N.E.2d at 916 (“Provisions in a covenant … are invalid if they prohibit

   competition with portions of a business with which an employee had no association or

   activities.”); Seach, 439 N.E.2d at 214. Further, the provision is “presumptively void” because it

   has “no geographic limitation.” See, e.g., Vukovich, 789 N.E.2d at 525.

          Separately, there is no evidence that Manno or Strahan “serve[d] as an agent, independent

   contractor or representative” of Talkdesk while employed with Genesys. Neither Manno nor

   Strahan were paid for any activities while they were being recruited by Talkdesk. MSF #8.

   Manno completed the third quarter with Genesys and began employment with Talkdesk on

   October 1, 2018. D.I. 183-6 ¶ 15. Strahan similarly ended active employment with Genesys

   around September 15, 2018 and took two-weeks of earned vacation time. D.I. 183-8 ¶¶ 13–14.

   While Strahan’s employment technically began with Talkdesk on September 17, 2018, for the

   last two weeks of September Strahan was not actively working for Genesys or Talkdesk. Id. at

   13–15.9

          5.      Claim of Breach of Contract – Failure to Surrender Records against Manno
                  (Count 6) and Strahan (Count 21)

          Genesys asserts that Manno and Strahan failed to comply with a contractual provision

   requiring that they “surrender records.” D.I. 235 at 59, 74. Genesys does not attempt to prove

   this claim. Nor can it. Manno and Strahan each returned all information known to them (aside




   9
     Genesys further raises issue with Strahan sending an email regarding BoH talking points on
   Saturday, September 28, 2018. This information was sent after his two-week leave ended with
   Genesys on Friday, September 27, 2018. Further, as explored in Section IV.D.2. below, this
   information was generally known in the industry—it was not “secret” or “confidential.”
                                                    29
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   from their own personnel information) at the end of their employments with Genesys. D.I. 183-8

   ¶ 17; D.I. 183-6 ¶ 17. But even if the employees had not done so, the provision is too broad to

   be enforceable. Indeed, the restriction applies to “any and all” information that “pertains to the

   business of the Company,” without limitation. As such, the provision would require an

   employee to return their own personal human resource documents that they are entitled by law to

   retain, as well as all information that indisputably can be received from third-parties or through

   public sources, including Genesys’s own website.10 Such an overbroad provision cannot be

   enforced in Indiana. See, e.g., Buffkin, 997 N.E.2d at 11 (noting that Indiana courts “strike down

   any such restrictive covenants which are the least bit overly broad.”).

          6.      Claims of Breach of Contract – Failure to Devote Substantial Time and
                  Provide Faithful Service (Counts 7 and 22)

          Genesys alleges as to Manno (Count 7) and Strahan (Count 22) that each failed to comply

   with a provision in their InIn agreements requiring them to “devote substantially all of the

   Employees’ business time, attention, energy and skill to the business of the Company.” (D.I. 266

   at 20). This provision too is overbroad and unenforceable. The agreement does not define what

   is meant by the phrase “substantially all.” However, if construed strictly against Genesys (as

   required), then the provision impermissibly implicates activity that is indisputably harmless and

   allowed under the law, making this provision also unenforceable as a matter of Indiana law.

   Central Ind. Podiatry, 882 N.E.2d at 729 (“We construe these covenants strictly against the

   employer and will not enforce an unreasonable restriction.”). Indeed, Genesys asserts that




   10
     This is problematic because the employee “could easily violate the terms … without knowing
   he was doing so.” Seach, 439 N.E.2d at 214. Indeed, Strahan received the PureCloud list from a
   website, yet Genesys asserts that constituted a “failure to surrender.” See DEX259 at 170:3–9,
   171:6–16, Oct. 21, 2020.
                                                   30
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   Manno and Strahan violated the “substantially all” provision by making efforts to gain new

   employment or prepare for such new employment. See D.I. 266 at 20. Such a restriction is not

   reasonable and is void in Indiana. Buffkin, 997 N.E.2d at 11.

          Separately, there are no facts to support a breach. As discussed in Section II.G. above,

   Manno and Strahan completed their work duties for Genesys without incident—and Manno

   extend his employment with Genesys to ensure the third quarter was fully closed. That Genesys

   in hindsight now asserts that Manno and Strahan were not faithful in their work duties—or did

   not exert best efforts in such work—is unsupportable. As previously noted, an employee has a

   privilege in Indiana to prepare to compete. See Kopka, 874 N.E.2d at 1070–71. As at-will

   employees, Manno and Strahan both had the right to interview for and seek different

   employment, including the right to communicate with a prospective employer.

          Moreover, Genesys ignores Manno’s fourteen-year career and Strahan’s eighteen-year

   career with Genesys—during which each employee faithfully and diligently worked for the

   company. Genesys ignores the entire service and instead points to discrete facts in an attempt to

   assert breach. This is improper, and Genesys’s attempt should fail. Interviewing for a new job

   or spending a few minutes to type non-work e-mails does not show that Manno and Strahan

   failed to devote “substantially all” of their time on Genesys matters while working there.

   Further, Genesys’s observation that Strahan gave notice and took earned vacation time is

   irrelevant. He did not compete with Genesys during this time11 and instead ensured that any



   11
     Genesys alleges that Strahan competed by sending an email regarding BoH talking points on
   Saturday, September 28, 2018. This information was sent after his vacation time ended with
   Genesys. Further, as this Court has already assessed during the preliminary injunction phase, the
   information in Strahan’s September 28, 2018 letter was well-known in the industry—it was not

                                                   31
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   remaining duties at Genesys were passed to others. D.I. 183-8 ¶¶ 13–15. And, of course,

   Genesys cites to no authority—nor can it—that taking earned vacation time violates Strahan’s

   agreement.

   C.     Claims of Breach of Fiduciary Duty of Loyalty against Manno, Strahan, and Hertel
          (Counts 8, 15, and 28)

          Genesys alleges that Strahan, Hertel, and Manno breached their duties of loyalty. See

   D.I. 266 at 35. However, in Indiana, an employee may prepare to compete “without breaching

   his fiduciary duty of loyalty.” SJS Refractory, 952 N.E.2d at 768. Indeed, the types of activities

   alleged here—“questioning [] employees about their desire, if any, to leave” and “gathering

   information about [] salary requirement[s] [and] willingness to quit”—have been found by

   Indiana courts not to rise to the level of a breach of fiduciary duty of loyalty. See Kopka, 874

   N.E.2d at 1071–72.

          Further, Genesys’s conclusory assertion that Strahan, Manno, or Hertel breached their

   duty by failing to act “solely” for Genesys’s benefit is unsupportable. The privilege of preparing

   to compete anticipates the occurrence of actions relating to future employment. See id. at 1071–

   72. Such actions (which may not solely be to the benefit of the current employer), however, do

   not cause the employee to breach any fiduciary duty. Id. Genesys’s citation of Potts for this

   proposition is inapposite. That case dealt with whether “just cause” existed for firing an

   employee, and it acknowledged the general rule that an employee should continue to “carry out

   [their] work to the best interest of the employer.” Potts v. Review Bd. Of Indiana, 475 N.E.2d

   708, 711 (Ind. App. 2005). Thus, evidence of “preparing to compete” is irrelevant to an inquiry




   “secret” or “confidential.” D.I. 199 at 10. Genesys does not argue otherwise in its motion for
   summary judgment, implicitly acknowledging that the information was known in the industry.
                                                   32
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   of whether an employee carries out their work in the best interests of the employer. And as

   noted in Sections II.E.–II.G. above, while Manno, Strahan, and Hertel may have taken steps to

   prepare to compete while working for Genesys, there are no facts to support that Manno,

   Strahan, or Hertel did not also exert best efforts in finishing out their work for Genesys.

          Additionally, Genesys’s claims that it “suffered harm” from the alleged “breaches of

   fiduciary duties” are also without merit. As set forth previously in Section II.Q., only a limited

   number of the departing Genesys associates were “top performers,” the turnover in 2018 was not

   abnormal for Genesys, many employees were unhappy and already exploring other opportunities

   in 2018,12 and some employees feared being terminated. Genesys quickly replaced each of the

   employees it lost using its internal recruiting team and without expending additional resources.

   MSF #4, 6. Genesys has also publicly touted exploding sales in the mid-market and cloud

   products since the employees departed in 2018. MSF #32. While Genesys makes passing

   reference to “losses in the fourth quarter of 2018 and 2019 brought on by the individual

   Defendants’ breaches,” this argument is inconsistent with public statements it has made

   regarding increased sales from 2018 to 2019. See MSF #32.

          Genesys also lacks a causal basis for any claim of harm. Each of the accounts for the

   departing employees were immediately assigned to one or more of the remaining sales associates

   at Genesys in 2018, and Genesys makes no attempt whatsoever (nor could it) to attribute any

   specific lost sale or diminished revenue to an allegedly “solicited” employee. See MSF #7.

   Genesys’s broad-brush allegations that it “suffered harm” as to the alleged recruiting activities of



   12
     The Genesys sales team in 2018 was suffering from internal divisions, and many employees,
   especially former InIn employees, were looking for other opportunities during this time. See
   DEX269 at 256:9–257:6, Feb. 11, 2021; DEX273 at 173:24–174:14.
                                                    33
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   Manno, Strahan, and Hertel thus cannot be substantiated. Similarly, no lost sales can be

   attributed to Defendants. Assertions relating to PowerSchool are based on unsupportable

   “presumptions.” DEX269 at 216:5–217:9. And the individual responsible for closing the BoH

   deal at Genesys in 2018 has testified repeatedly that any discounts offered by Genesys on the

   deal were not the result of competition by Talkdesk. MSF #12. Instead, Genesys’s discounting

   was a concession for a prior unsuccessful product sold by Genesys to BoH in 2016. Id. Thus,

   Genesys’s lack of any provable harm also justifies dismissal of the breach of fiduciary duty

   claims.

             1.     Claim of Breach of Fiduciary Duty of Loyalty against Manno (Count 8)

             Genesys alleges that Manno breached his “duty of loyalty” by allegedly “soliciting

   Genesys employees while still employed by Genesys, by disclosing Genesys Confidential

   Information to Talkdesk, by directly competing with Genesys for Talkdesk’s benefit, and by

   failing to exert his best efforts on behalf of Genesys.” D.I. 266 at 36. Each assertion fails:

            Manno did not breach his 2004 InIn agreement, as discussed in Sections V.B.1.–V.B.6.

            Manno did not provide “Confidential Information” to Talkdesk, as discussed in Section
             IV.D.1.

            Manno did not “compet[e] with Genesys for Talkdesk’s benefit,” as outlined above in
             Sections II.E., II.F., II.G, and V.B.4. Manno did not have hiring authority at Talkdesk
             while being recruited. MSF #9. Hiring was in the hands of Talkdesk’s recruiting team
             and, ultimately, Talkdesk’s CEO. MSF #10. Manno was not paid for any activities
             undertaken for Talkdesk while being recruited. MSF #8. Thus, his activities taken in
             2018 were permissible. See Kopka, 874 N.E.2d at 1071–72.

             2.     Claim of Breach of Fiduciary Duty of Loyalty against Strahan (Count 15)

             Genesys alleges that Strahan breached his “duty of loyalty” by allegedly “soliciting

   Genesys employees while he was still employed by Genesys, by disclosing Genesys Confidential



                                                     34
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   Information to Talkdesk, by directly competing with Genesys for Talkdesk’s benefit, and by

   failing to exert his best efforts on behalf of Genesys.” D.I. 266 at 37. Each assertion fails:

         Strahan did not breach his 2000 InIn agreement, as discussed in Sections V.B.1.—V.B.6.

         Strahan did not provide “Confidential Information” to Talkdesk, as discussed in Section
          IV.D.2.

         Strahan did not “compet[e] with Genesys for Talkdesk’s benefit,” as outlined in Sections
          II.F., II.G, and V.B.4.13 Strahan did not have hiring authority at Talkdesk. MSF #9. He
          was not paid for any activities undertaken for Talkdesk while being recruited. MSF #8.
          The activities complained of by Genesys thus fail to support the claim as a matter of law.
          See Kopka, 874 N.E.2d at 1071–72.

          3.      Claim of Breach of Fiduciary Duty of Loyalty against Hertel (Count 28)14

          Genesys also alleges that Hertel breached his “duty of loyalty” by allegedly “soliciting

   Genesys employees while still employed by Genesys, by disclosing Genesys Confidential

   Information to Talkdesk, by directly competing with Genesys, and by failing to exert his best

   efforts on behalf of Genesys.” D.I. 266 at 38. These likewise fail:

         Genesys does not assert a breach of contract claim against Hertel; nonetheless, Hertel did
          not “solicit” Genesys employees as explained in Sections II.F. above.

         Hertel did not provide “Confidential Information,” as discussed in Section IV.D.3. Hertel
          did not have hiring authority at Talkdesk. MSF #9–10.




   13
      Genesys takes issue with the timing of Strahan’s start date with Talkdesk. This is a red
   herring. Strahan took well-earned vacation leave at the end of his long career with Genesys. D.I.
   183-8 ¶¶ 13–15. During this time, he did not compete with Genesys. Id. Instead, at best, he
   undertook activities in preparation to compete, which he was entitled to do. Kopka, 874 N.E. 2d
   at 1071–72.
   14
      Genesys has acknowledged that Hertel is not subject to the forum selection clause in his
   agreement. DEX302 at 2. Whether Indiana or California law applies, Genesys’s “breach of
   fiduciary duty” claim fails. See, e.g., Huong Que, Inc. v. Luu, 150 Cal. App. 4th 400, 417, 58
   Cal. Rptr. 3d 527, 540 (2007) (“California law permit[s] an employee to seek other employment
   and even to make some ‘preparations to compete’ before resigning....”).
                                                    35
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          As outlined above in Sections II.F. and II.G, Strahan did not “compet[e] with Genesys for
           Talkdesk’s benefit.” Indeed, any actions taken by Hertel were at best in preparation to
           compete and were proper under Indiana law. See Kopka, 874 N.E.2d at 1071–72.

   D.      Claims of Misappropriation of Trade Secrets under the Defend Trade Secrets Act
           (Counts 9, 16, 26, and 32) and the Indiana Uniform Trade Secrets Act (Counts 10,
           17, 27, and 33) against Manno, Strahan, Hertel, and Talkdesk

           Genesys’s “confidential trade secret” claims fail. Information provided to prospective

   customers or known generally in the industry—such as the case here—is not trade secret or

   confidential. See, e.g., Economation, Inc. v. Automated Conveyor Sys., Inc., 694 F. Supp. 553,

   556 (S.D. Ind. 1988) (holding when information is known to or shared with customers, it

   becomes “readily ascertainable and is not a trade secret”); Standard Register Co. v. Cleaver, 30

   F. Supp. 2d 1084, 1094 (N.D. Ind. 1998) (“[C]ustomers are quite willing to ‘shop around,’ and

   … will reveal their needs and competing quotes to competitive salesmen.”); Whyte v. Schlage

   Lock Co., 101 Cal. App. 4th 1443, 1455 (2002) (“[A]ny information (such as price concessions,

   trade discounts and rebate incentives) disclosed to … customers cannot be considered trade

   secret or confidential.”).

           Based on this clear precedent, the Court recognized at the preliminary injunction stage

   that Genesys’s trade secret claims were unfounded and not likely to be successful. See D.I. 199

   at 12–14. This remains the case. Genesys falters at the gate by not providing required

   specificity for its assertions. That is, providing broad labels—such as arguing that all Genesys

   “personnel information” is secret—is insufficient. See, e.g., IDX Systems Corp. v. Epic Systems

   Corp., 285 F.3d 581, 583 (7th Cir. 2002) (“[U]nless the plaintiff engages in a serious effort to pin

   down the secrets a court cannot do its job.”). And Genesys “must do more than just identify a

   kind of [information] and then invite the court to hunt through the details in search of items

   meeting the statutory definition.” Id. at 584.

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          Moreover, Genesys’s claims rely on the antithesis of “confidential” or “secret”

   information. As this Court previously recognized, information in the contact center industry is

   ubiquitous with trade publications and product literature readily available to the public. D.I. 199

   at 12–13; MSF #20. Indeed, Genesys publicizes detailed customer information (MSF #18–19),

   price lists (MSF #23, 26; D.I. 182-5), product discounts (MSF #27–28), product architecture

   (MSF #21, 30–31), and product outages (MSF #26). And trade sources readily identify, compile,

   and categorize customer information, pricing, complaints, and architecture concerning Genesys’s

   products and services—as well as for all others in the industry. See MSF #20, 28–29, 30. Such

   readily available information—whether it be pricing, identity of customers, or other customer

   information—is not confidential trade secret information. Metals & Additives Corp., Inc. v.

   Hornedo, No. 49A02–1011–PL–1213, 2011 WL 3211119, at *5 (Ind. Ct. App. July 28, 2011)

   (citations omitted).

          Likewise, Genesys’s blanket arguments that any “personnel information” constitutes

   “confidential trade secret” information is without merit. “Information that could be obtained

   from other persons … does not constitute a trade secret.” Id. at *5. It follows that information

   readily provided to prospective employers is not “trade secret” or “confidential.” Intertek USA

   Inc. v. AmSpec, LLC, No. 14 CV 6160, 2014 WL 4477933, at *5 n.4 (N.D. Ill. Sept. 11, 2014)

   (finding that personnel information is not confidential or secret when “employees are willing to

   share their salary information with competitors in hopes of finding a higher-paying position.”).

   Accordingly, each of Genesys’s “trade secret” and “confidential” claims fail as a matter of law as

   explored further below.




                                                   37
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          1.      Claims of Misappropriation of Trade Secrets against Manno (Counts 9 and
                  10)

          Genesys broadly alleges that the following information was misappropriated by Manno:

         A widely distributed and non-confidential 2018 list of PureCloud customers that included
          readily ascertainable contract dates and seat counts (“the PureCloud list”);

         Non-specific and non-confidential “personnel information” based on unverifiable
          opinions or information readily shared by employees with prospective employers;

         Non-specific and non-confidential “pricing and discounting information” made known by
          Genesys to prospective customers and the industry-at-large;

         Non-specific and non-confidential “sales deal information” based on information readily
          available from customers; and

         Non-specific and non-confidential Genesys “financial information” prepared by Genesys
          specifically for the purpose of being provided to prospective customers.

   Each fails to support a claim for trade secret misappropriation (Counts 9 and 10) or breach of

   confidentiality (Count 3) as a matter of law:

                          The “PureCloud” list contains information that is readily
                          ascertainable from customers, third parties, and Genesys itself

          Genesys asserts that a 2018 list of readily ascertainable and publicly touted customers is a

   “confidential trade secret.” (D.I. 266 at 23). As other courts have determined, such a claim

   “seek[s] to prevent competition by its former agent more than it seeks to protect a trade secret.”

   Harvest Life Ins. Co. v. Getche, 701 N.E.2d 871, 876 (Ind. Ct. App. 1998); see also Think Tank

   Software Dev. Corp. v. Chester, Inc., 30 N.E.3d 738, 747 (Ind. Ct. App. 2015).

          The list complained of is an outdated snapshot of Genesys’s PureCloud customers from

   sometime in 2018. DEX273 at 134:20–24; DEX276 at 13:7–14:6. It includes only the

   customer’s initial contract date and seat count. See D.I. 257-28 at 3–25. None of this

   information is confidential or trade secret. Genesys publicly touts its customers on its website

   (including details and agent seat count) and requests that its customers publicly disclose the

                                                   38
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   same. MSF #18–19; DEX252 ¶¶ 25–26, 52. Genesys also asks its customers to present on

   Genesys’s behalf at public industry events to promote and encourage other prospective

   customers to utilize Genesys products. MSF #18; DEX273 at 80:9–82:20 (discussing

   Ticketmaster customer story), 43:16–45:8, 125:14–128:4 (Uber customer presenting); DEX275;

   DEX281; DEX252 ¶¶ 25–30. Such actions are the direct opposite of keeping information

   “secret” or “confidential.”

          The information in the PureCloud list is also readily ascertainable from the customers

   themselves. Customers using Genesys’s PureCloud are known in the industry and can be

   identified through a simple visual inspection of the customer’s public-facing websites. See

   DEX252 ¶¶ 21–29, 52, 54; MSF 20. Thus, the information on the PureCloud list can easily be

   gathered by simply asking the customers for the information. See MSF #25.

          And this information is also readily available from a plethora of other sources in the

   industry. See MSF #20–31. As discussed in Section II.M., third-party databases, for example,

   provide detailed information on competitor’s customers to anyone in the industry. DEX282 ¶ 5;

   DEX283; DEX284. Indeed, a search for Genesys’s customers on DataFox (a lead-generation

   database) provided over 3,400 hits. DEX284. This information is much more detailed than the

   customer list complained of in this case, and includes the address for the customer, the specific

   points of contact at the customer in charge of IT provisioning (including telephone and email

   addresses), and the size of the entity.15




   15
     Agent seat counts can easily be determined from the entities size or by asking the entity
   directly. See DEX282 ¶ 9.
                                                   39
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          Cases in Indiana repeatedly recognize that this type of readily available customer

   information—even if embodied in a list—is not confidential or trade secret information. See,

   e.g., Metals & Additives, 2011 WL 3211119, at *5 (“[W]hen customers may be identified

   through trade publications, contacts with other customers, or other competing businesses, a

   customer list cannot be a trade secret.”) (citing Xpert Automation Sys., Corp. v. Vibromatic Co.,

   Inc., 569 N.E.2d 351 (Ind. Ct. App. 1991). Indeed, the court in Steenhoven v. College Life Ins.

   Co. of America, held that “policyholder information could not be considered a trade secret

   pursuant to the act because it was readily ascertainable from the policyholders themselves” and

   that information in a compilation “could be extracted from the policyholder in a blind

   replacement attempt.” 460 N.E. 2d 973, 974 n.6 (Ind. Ct. App. 1984). In Harvest Life Ins., the

   court likewise recognized that policyholder information (similar to customer information) was

   not secret, finding “the information could be obtained from the policyholder himself, from the

   policy, or from other materials provided to the policyholder by the insurance company.” 701

   N.E. 2d at 876 (collecting cases). Similarly, in Think Tank Software Dev. Corp. v. Chester, Inc.,

   the court analogized to the Steenhoven case and held that “knowledge of customers’ computer

   systems and current or future needs was readily ascertainable, as such information belonged to

   the customers in question….” 30 N.E. 3d at 747. And in Xpert Automation Systems, Corp. v.

   Vibromatic Co., Inc., the court of appeals affirmed, noting “the trial court found that customers

   could be, and in fact were, identifiable by means of the ‘Thomas Register’, a trade publication,

   contacts with customers, and contacts with competing parts feeder manufacturers.” 569 N.E.2d

   351, 356 (Ind. Ct. App. 1991). These cases are analogous and controlling.

          In contrast, the cases relied on by Genesys have wildly divergent facts from this case. In

   Amoco Prod. Co. v. Laird, for example, the Supreme Court of Indiana noted that prior decisions

                                                   40
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   addressing “allegedly confidential information embodied in customers lists and related data”

   were “factually divergent” and offered “limited guidance” on the proprietary survey and oil

   projections at issue in that case. 622 N.E.2d 912, 916 (Ind. 1993). The Court reasoned, “[w]hile

   some tools leading to Amoco’s site discoveries were easily accessible within the public domain,

   such as U.S. Geological Survey data and the existence of microwave radar technology, we find

   that, taken together, the integration of pertinent site information and resultant projections as to

   potential oil reserves constitutes a unique compilation of information not previously known in

   the marketplace.” Id. at 920. Thus, the court based its decision on the significant efforts and

   proprietary methods required by Amoco to prepare the compilation, which involved “proprietary,

   confidentially-stored information,” consultation with “personnel who had previous geological

   experience with the territory under exploratory consideration,” “repeated statistical assessments

   of extensive areas,” and a $150,000 contract “to conduct microwave radar surveys of the 13,000-

   square-mile area” based on Amoco’s proprietary “grid pattern to guide [the] flyover procedure.”

   Id. Such efforts are wholly distinguishable from consulting a third-party database, reviewing

   websites, or asking a customer for information.16 Indeed, the cases cited by Genesys are the




   16
     Other cases cited by Genesys also present unique facts not present here. Ackerman v. Kimball
   Int’l, Inc., involved supplier pricing that could not be gathered by a competitor. 634 N.E.2d 778,
   785 (Ind. Ct. App. 1994). Titus v. Rheitone, Inc., involved “confidential information about
   customer purchases and preferences, discount levels, pricing, and volume” in a niche and
   competitive printing industry. 758 N.E.2d 85, 92–93 (Ind. Ct. App. 2001). U.S. Land Servs.,
   Inc. v. U.S. Surveyor, Inc., involved the use of detailed prospect information in misappropriated
   databases, including surveyor ratings, client histories, as well the Surveyor’s proprietary “rating
   of the prospect’s response to marketing efforts,” which were not readily available from public
   sources. 826 N.E.2d 49, 64. And Mickey’s Linen v. Fischer, an Illinois case, involved
   “customer profiles … ‘gathered in one place’ to reference as the need arises and ‘before they are
   given to the customer,’” which reference information was held to not be readily ascertainable in
   the industry. No. 17-C-2154, 2017 WL 3970593, *9 (N.D. Ill. Sept. 8, 2017).
                                                    41
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   exception to the rule—which this case is not. Here, because the information at issue “could be

   obtained from other persons, directly from customers, from competitors, and from public

   records,” the list cannot as a matter of law constitute a trade secret. Metals & Additives, 2011

   WL 3211119, at *5 (citations omitted).

          Aside from not being protectible, the list is also not valuable—one court noting that such

   a list of customers “is effectively worthless.” Steenhoven, 460 N.E.2d at 974 (“No [] inherent

   independent value can be ascribed to this list of policyholders’ names and addresses, even if such

   list is placed in the hands of a rival insurance organization.”). Indeed, to utilize the 2018

   Genesys list for any purpose, a competitor would need to gather information directly from the

   customer (such as contact information, product configuration details, and contract expiration

   dates). Likewise, customers of competitors are not valuable prospect sources because they are

   committed to their current products and unlikely to change providers. See DEX282 ¶¶ 5, 7–9.

   Further, because the list is outdated, it lacks any possibility of economic value. See, e.g., Applied

   Indus. Materials Corp. v. Brantjes, 891 F. Supp. 432, 439 (N.D. Ill. 1994) (finding four-year-old

   profit margin information “too old to have continued economic value”). As noted, the

   information in the PureCloud list is a snapshot of Genesys’s customers as of 2018. Genesys

   makes no attempt to establish which, if any, of the companies on the list remain Genesys

   customers today—or which contracts have expired since its creation in late 2018. See DEX273

   at 133:15–134:24.

          Finally, Genesys makes a red herring argument about Talkdesk’s investment in lead

   generation personnel and technology to argue that the list cannot be readily duplicated.

   However, Genesys’s argument falls flat. Lead-generation involves much more than simply

   identifying a possible company name or prospect. See DEX282 ¶ 7. Indeed, simply knowing a

                                                    42
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   customer has zero value; the company has to make effort to sell a product. See DEX286 at

   134:12–17, Feb. 16, 2021; DEX269 at 178:12–13, Feb. 11, 2021. Lead generation thus involves

   promotions, advertising, and other work to generate a lead for a customer who is actually

   interested in Talkdesk’s products. See DEX282 ¶¶ 7–8. The databases that Mr. Alamgir can

   assess to search for competitor’s customers are a small part of the many marketing tools at the

   company’s disposal (and comprise a small fraction of the demand-generation budget). Id. ¶ 4.

   Moreover, Talkdesk has never sought to replicate the PureCloud list. Id. ¶ 6. Alamgir’s search

   in 2019 was limited by geographic area and customer size, and was not an attempt to identify all

   of Genesys’s customers.17 Id. ¶ 4.

          Finally, Genesys’s assertion that Manno shared “customers he thought were in ‘trouble’”

   is unverifiable and non-actionable. McGlothen v. Heritage Env’t Servs., L.L.C., 705 N.E.2d

   1069, 1072 (Ind. Ct. App. 1999) (“[A]n employer is not entitled to protection from an

   employee’s knowledge, skill, or general information acquired through experience or instruction

   while in the employment.”). Genesys makes no effort to show that any of the customers were

   actually in “trouble,” what Manno meant by such statement, or that the information was not

   already known in the industry. Further, there is no evidence that this opinion information was

   ever used by anyone at Talkdesk. But even if this information were accurate and used, because

   information regarding the customer’s view of Genesys could be gathered directly from the

   customers, it still cannot form the basis of a “confidential trade secret” claim. Metals &




   17
     There is also no evidence that Talkdesk utilized the list or “‘uploaded’ it to the Talkdesk CRM
   database….” Id. ¶ 10. Indeed, only names of 137 customers on this list have any data within
   Talkdesk’s CRM software. Id. The vast majority of those 137 companies were known to
   Talkdesk before October 2018. Id.
                                                   43
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   Additives, 2011 WL 3211119, at *5 (citations omitted) (“Information that could be obtained from

   other persons, directly from customers, from competitors, and from public records … does not

   constitute a trade secret.”).

                           Manno’s unverifiable opinions regarding “personnel information” do
                           not entail “confidential trade secret information”

           Genesys broadly alleges that Manno committed trade secret misappropriation by “giving

   his opinion on Genesys’ east coast and Chicago-area account executives and opining on the

   performance of Genesys employees Cahhal, Kuntz, and Genesys solutions consultants, including

   Ham and Carter.” (D.I. 266 at 27). Genesys again cites to no authority that Manno’s opinion—

   which Genesys does not even attempt to confirm as fact—can form the basis of a trade secret or

   breach of confidentiality claim. Indeed, Genesys does not attempt to qualify what part of the

   opinion is kept as “confidential” or “trade secret” at Genesys. See, e.g., IDX Systems Corp., 285

   F.3d at 583 (“[U]nless the plaintiff engages in a serious effort to pin down the secrets a court

   cannot do its job.”).

           This is also not a case where “employee files” were misappropriated, as in the cases cited

   by Genesys.18 Indeed, “personnel information” is not trade secret information when it is the type




   18
     Genesys’s citation to Cmty. Ties of Ameria, Inc. v. NDT Care Srvs., LLC, No. 3:12-CV-00429-
   CRS, 2015 WL 520960 (Feb. 9, 2015) is not “instructive.” D.I. 266 at 28. That Kentucky case
   involved the misappropriation of entire “employee files” that “contained, at a minimum,
   resumes, background checks, Tuberculosis (TB) Assessments, and general employee information
   employee” used to “facilitate the swift transfer of CTA’s Behavior Analysts from CTA to
   Homeplace” without consent of analysts. Cmty. Ties of America, 2015 WL 520960, at *12.
   There are no facts analogous to this case. Genesys does not and cannot assert that Manno,
   Strahan, or Hertel took “employee files” from Genesys. This case also does not involve an
   “unpublished salary list” as mentioned in other cases cited by Genesys. Instead, the broad-brush
   “personnel information” asserted here includes unverifiable opinions or information that
   indisputably is provided by prospective employees to prospective employers—including via

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   of information commonly shared by employees in job searches. See Intertek USA Inc., 2014 WL

   4477933, at *5 n.4; Comsys Inc. v. City of Kenosha, Wisconsin, No. 16-CV-655-JPS, 2017 WL

   1906750, at *17 (E.D. Wis. May 9, 2017), rev’d and remanded on other grounds. This is the

   case here. Employees in the CCaaS industry move to competitors frequently, and it is

   undisputed that potential candidates in the industry (including those in this case) provide

   resumes, LinkedIn profiles, and other personnel information to potential employees in an effort

   to secure better jobs. MSF #1–5; DEX260 at 18:22–19:12. Talkdesk recruiters gather

   information regarding work history, performance, salary requirements, and other personnel

   information. DEX262 at 22:25–23:4. Genesys likewise asks for and receives such personnel

   information in interviews. DEX260 at 18:22–19:17. As such, Genesys’s claim that personnel

   information was “confidential” or “trade secret” fails as a matter of law.

                          Genesys’s “comfort letter” sent to prospective customers was not
                          secret or confidential.

          Genesys asserts that a widely distributed “comfort letter” containing high-level Genesys

   financial information was misappropriated by Manno. Not so. Such a letter is neither secret nor

   confidential. Indeed, its value to Genesys is in the letter being shared with prospective

   customers. DEX276 at 34:5–24. Because the letter was provided to prospective customers, the

   information is not a trade secret. Economation, 694 F. Supp. at 556. And while Genesys asserts

   that the letter was only provided to customers under “NDA,” there is no evidence to support that

   assertion. Indeed, Genesys enters NDAs with less than half of its customers. DEX286 at




   resumes, LinkedIn profiles, and during interviews. Further, the former employees at issue
   interviewed with Talkdesk. Thus, any information complained of by Genesys could have been
   sourced directly from the employees during the interviews. DEX262 at 22:22–23:24, 45:1–3;
   DEX260 at 18:22–19:17.
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   150:20–151:10 (“40 to 50 percent of the opportunities”), 155:6–14. Genesys also makes no

   effort to show what specific information within the letter is allegedly “secret.” As noted, this is

   insufficient to support a trade secret claim. Nonetheless, even if the letter itself were not shared

   with customers, Genesys sales associates have shared financial information of this type in

   presentations to prospective customers. DEX273 at 117:23–119:25; see DEX285. Such

   financial information is therefore neither “confidential” or “trade secret.”

                          Genesys’s pricing and discounting policies are readily ascertainable.

          Genesys’s argument that “discount” information provided to customers is likewise

   without merit. “[A]ny information (such as price concessions, trade discounts and rebate

   incentives) disclosed to … customers cannot be considered trade secret or confidential.” Whyte,

   101 Cal. App. 4th at 1455; see also Economation, 694 F. Supp. at 556. Even if this were not the

   case, Genesys is incorrect when it states that Manno provided a “specific percentage that

   Genesys would discount.” D.I. 266 at 31. In actuality, Manno said the opposite—that he was

   not aware of any specific discount at Genesys, but instead only aware of a free month trial that

   amounted to an approximate percentage “discount.” See D.I. 257-17 at 2–3. Of course, this free

   trial “discount” was touted by Genesys, well-known in the industry, and could be sourced from

   any of Genesys’s customers. MSF #27–28; DEX252 ¶¶ 21, 29; DEX259 45:25–46:4; DEX278;

   DEX279. Further, while Genesys does not point to any discount provided by Manno for any

   specific Genesys customer, sales associates in the industry will generally know where their

   competitors will fall in a sales deal. DEX252 ¶¶ 49–51; see also DEX269 at 249:14–251:17.

   Further, Genesys provides the majority of its pricing and discounts without being under any

   NDA. MSF #23. Thus, the evidence here confirms that discounting information is “readily

   ascertainable without much investment of time, expense or effort” because “customers are quite

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   willing to ‘shop around,’ and [] they will reveal their needs and competing quotes to competitive

   salesmen.” Standard Register Co., 30 F. Supp. 2d at 1094.

                           Genesys’s Uber win report did not contain “confidential trade secret
                           information”

           Genesys further argues that Manno misappropriated a “win report” for a “significant

   customer.” Genesys touts this customer, Uber, to prospective customers through marketing and

   at public events where representatives of Uber provide information to prospective customers

   about why Uber chose Genesys and details relating to its agreement with Genesys. DEX273 at

   43:16–45:8, 125:14–128:4 (Uber spoke at a public facing event); DEX275. While Genesys

   makes passing reference to NDAs, Genesys does not enter into NDAs with all of its customers,

   and there is no evidence that Genesys entered into an NDA with Uber. See MSF #22–23.

           Genesys’s claim as to this information also fails because it does not provide specifics as

   to what information in the “win report” constitutes a trade secret. But the general claims it

   makes—D.I. 266 at 32 (“the value of the contract, the reasons Genesys won, and the reasons the

   customer chose Genesys”)—are also insufficient. As previously noted, “‘knowledge of

   customers’ computer systems and current or future needs was readily ascertainable [and]

   belonged to the customers in question.” Think Tank Software, 30 N.E.3d at 747. For these

   reasons, Genesys’s attempt to broadly assert that information in the “win report” is a trade secret

   fails as a matter of law.

           2.      Claims of Misappropriation of Trade Secrets against Strahan (Counts 16 and
                   17)

           Genesys also alleges that the following information was misappropriated by Strahan: (i)

   the non-confidential 2018 PureCloud list; (ii) non-specific “personnel information”; and (iii)

   non-specific “pricing and discounting information.” Each likewise fails to support a claim:

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                           The PureCloud list is not “confidential trade secret information”

           As outlined above in Section IV.D.1.ii., the unmarked PureCloud list contains

   information that can readily be sourced from industry sources. Such a list is not entitled to trade

   secret protection as a matter of law. Metals & Additives, 2011 WL 3211119, at *6. Strahan

   further received the document from proper means—from a website that did not require a login or

   password. DEX259 at 170:3–9, 171:6–16. Thus, even if the information could be considered a

   trade secret, the claim would still fail.

                           Employee’s work history and salary requirements are shared by
                           employees on resume, through LinkedIn bios, and in interviews; it is
                           not confidential or trade secret information.

           Genesys alleges that Strahan misappropriate “personnel information” by “opining on

   performance and morale of Genesys’ solution consultants; the sales performance history of

   Genesys employee Mann; and the sales performance, compensation history, and deals closed by

   Genesys employee Tews.” Genesys again does not attempt to show how an unverified opinion

   constitutes “confidential” or “trade secret” information. Moreover, information that “employees

   are willing to share … in hopes of dining a higher-paying position” also cannot form the basis of

   a trade secret claim. Intertek USA Inc., 2014 WL 4477933, at *5. Here, employees in the CCaaS

   industry provide the very type of “personnel information” complained of by Genesys on their

   resumes, LinkedIn, and to prospective employers during interviews. DEX260 at 18:4–19:12;

   DEX262 at 22:22–23:24. Genesys recruits from competitors and receives this type of personnel

   information about competitors routinely through resumes and interviews. DEX260 at 18:22–

   19:17. Likewise, Talkdesk’s head of recruiting confirmed that each of the employees hired by

   Talkdesk would have been asked questions about their employment history, performance, and

   salaries during their interviews. DEX262 at 22:25–23:4. Thus, Genesys’s attempt to paint such

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   general information as “confidential” or “trade secret” fails. Indeed, “[i]nformation that could

   be obtained from other persons … does not constitute a trade secret.” Metals & Additives, 2011

   WL 3211119, at *5 (Ind. Ct. App. July 28, 2011) (citations omitted).19

                         Genesys’s “pricing and discounting information” is known and
                         readily ascertainable in the industry.

          Genesys alleges that Strahan “provided Genesys’ confidential pricing and discounting

   information when advising Talkdesk on the BoH deal.” (D.I. 266 at 29). This fails for the same

   reasons the “pricing and discounting” claim against Manno fails (see Section IV.D.1.iii., above).

   “[A]ny information (such as price concessions, trade discounts and rebate incentives) disclosed

   to … customers cannot be considered trade secret or confidential.” Whyte, 101 Cal. App. 4th at

   1455; Economation, 694 F. Supp. at 556; Standard Register Co., 30 F. Supp. 2d at 1094. Such

   cases are determinative here.

          3.      Claims of Misappropriation of Trade Secrets against Hertel (Counts 26 and
                  27)

          Genesys also alleges that the following information was misappropriated by Hertel:

                 Non-specific and non-confidential “personnel information”;

                 Non-specific and non-confidential “sales deal information” (specifically
                  information provided by Genesys to BoH); and

                 Non-specific and non-confidential “customer satisfaction information” in the form
                  of an NPS report of information from customers in 2017.




   19
      As noted above in footnote 18 above, Genesys’s citation to cases where extensive “employee
   files” were taken and used by a competitor are inapposite. Genesys also alleges that Talkdesk
   “shortcut recruiting costs” by using the alleged “personnel information.” D.I. 266 at 28. This is
   another unsupported claim. Talkdesk conducted a full interview process for each potential
   candidate it considered. MSF #10. There is no support for Genesys’s blanket assertion that
   Talkdesk’s recruiting process led to reduced “recruiting costs.”
                                                   49
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          Each fails to support a claim for trade secret misappropriation (Counts 9 and 10) as a

   matter of law:

                          Hertel’s opinions of Morales are not “confidential” or “trade secret.”

          Genesys asserts that Hertel misappropriated “personnel information” by basing his

   approval of Talkdesk hiring Genesys employee Morales on his “experience with her job

   performance working under him at Genesys.” D.I. 266 at 28. This non-specific accusation is

   insufficient to support a claim for trade secret misappropriation. See, e.g., IDX Systems Corp.,

   285 F.3d at 583. Talkdesk was aware of Morales and recruited her prior to Hertel. DEX267 at

   45:21–46:15; DEX270 at 42:16–24. There is no evidence Hertel misappropriated any

   confidential or trade secret information relating to Morales.

                          Sales information provided to BoH is not confidential or trade secret;
                          BoH readily provided such information to Talkdesk.

          Genesys points to information provided by Hertel relating to bid information provided by

   Genesys to BoH. This information likewise does not support a trade secret claim. “Indiana

   courts have established that in the sales context, once information is known to the customers, that

   information is readily ascertainable and is not a trade secret.” Economation, 694 F. Supp. at 556.

   Accordingly, Genesys’s assertion that price quotes and other information provided to BoH could

   constitute trade secrets is incorrect.20 Indeed, BoH freely shared Genesys’s bid information with

   Talkdesk in its effort to obtain the best and lowest bid. D.I. 168-3 at 137–38; D.I. 183-3; D.I.




   20
     To the extent Genesys alleges that BoH was under an NDA, the facts say otherwise. The NDA
   produced by Genesys was executed as part of the closed sales deal that occurred in 2016 (D.I.
   168-2 at 134–35), and BoH freely provided information relating to Genesys’s bids during the
   new pitch round in 2018 (Dkt. 168-3 at 137–38).
                                                   50
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   183-4. Thus, this information was “readily ascertainable without much investment of time,

   expense or effort.” Standard Register Co., 30 F. Supp. 2d at 1094.

                         Genesys cannot show that any of the information contained in the
                         NPS data is not readily available from customers themselves.

          Genesys finally waves hands at a Net Promoter Score (NPS) survey sent by Hertel to an

   email address at Talkdesk. (D.I. 266 at 34). This information was never used by anyone at

   Talkdesk.21 But even so, this information is not a trade secret. NPS is a well-known process,

   involving easily attainable and replicable feedback from customers. See D.I. 182-13; D.I. 182-

   14; DEX252 ¶¶ 66–69. And such knowledge is not “secret,” since “‘knowledge of customers’

   computer systems and current or future needs was readily ascertainable [and] belonged to the

   customers in question.” Think Tank Software, 30 N.E.3d at 747; see also Whyte, 101 Cal. App.

   4th at 1455. Finally, the information is outdated (see DEX273 at 98:20–101:23), further

   supporting that trade secret protection would not be proper even if the information were not

   readily available from other sources. See Applied Indus., 891 F. Supp. at 439.

          4.      Claims of Misappropriation of Trade Secrets against Talkdesk (Counts 32
                  and 33)

          Genesys broadly alleges that the following types of information were misappropriated by

   Talkdesk:

                 The non-confidential 2018 PureCloud list;

                 Non-specific and non-confidential “personnel information”;

                 Non-specific and non-confidential “pricing and discounting information”;



   21
     There is no evidence that the NPS report was ever reviewed or distributed to anyone else at
   Talkdesk. Indeed, the BoH pitch relied on public Google customer reviews. D.I. 168-3 at 137–
   38.
                                                  51
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                 Non-specific and non-confidential “sales deal information”;

                 Non-specific and non-confidential 2017 “customer satisfaction information”; and

                 Non-specific and non-confidential “financial information” provided by Genesys
                  to prospective customers and the industry.

          Each fails for the same reasons addressed above in Sections V.D.1., V.D.2., and V.D.3

   above. There is no evidence that any of this information was ever used by Talkdesk. The

   PureCloud list was not uploaded to Talkdesk’s customer relations management database.

   DEX282 ¶ 10. Genesys does not even attempt to show a single instance where a prospective

   customer from the PureCloud list was approached or converted to Talkdesk. Nor could it. There

   are only two (2) customers on the enter PureCloud list that have ever been Talkdesk customers—

   and each was approached prior to the existence of the list. Id. ¶ 11. Likewise, Genesys does not

   attempt to show actual use of any Genesys pricing, sales, financial, or other customer

   information. For example, Genesys does not show where Talkdesk disclosed the industry-known

   “free month” price discount to a prospective customer, used any of the industry-known “sales

   information” in an attempt to convert a prospective customer, or ever looked at the NPS

   customer data. Thus, even if Genesys could show a cognizable claim based on confidentiality

   (which it cannot), Genesys’s trade secret claim as to Talkdesk would still fail because it cannot

   prove misappropriation of any of the alleged “confidential trade secret” information.

   E.     Claims of Constructive Fraud against Manno, Strahan, and Hertel (Counts 11, 23,
          and 29)

          “A claim for constructive fraud may be based on silence when there is otherwise a duty to

   speak,” but “statements of opinion are not actionable for constructive fraud.” C & S Mgmt., LLC

   v. Superior Canopy Corp., No. 1:08–CV–29PS, 2008 WL 5215994, at *5. Constructive fraud

   claims also require conformance with the heightened specificity requirements of Rule 9(b). See

                                                   52
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   id. Here, Genesys alleges that it has cited to specific communications to demonstrate

   misrepresentations and omissions to properly plead constructive fraud. Not so. Genesys makes

   unsupported and conclusory assertions that Manno, Hertel, and Strahan remained “silent where a

   duty to speak existed” instead of setting out “a specific omission of fact, as well as the

   circumstances surrounding the omission” as required under Rule 9(b). See id. While Genesys

   generally cites dates for the alleged omissions or misrepresentations, it does not provide the

   specific statements it deems to be a misrepresentation, the specific omissions of fact, or the

   circumstances surrounding such omissions.

          Moreover, Genesys does not identify a legal duty regarding the alleged omissions by

   Hertel, Strahan, and Manno. Genesys asserts that Defendants committed constructive fraud by

   failing to disclose their future plans for employment with Talkdesk and/or knowledge of

   recruiting by Talkdesk of other Genesys employees. See D.I. 220 ¶¶ 438–44, 540–42, 595–96.

   However, Genesys cites to no case law to support its assertion that either Manno, Hertel, and

   Strahan had any duty to provide this information to Genesys. Indeed, there is no requirement

   that an employee disclose that they are seeking future employment, the reasons for seeking such

   employment, the reasons for leaving their current job, or the knowledge that others are seeking

   future employment. Indeed, imposing such a duty would run directly counter to “the privilege of

   employees to prepare to compete against their employers without fear of breaching their

   fiduciary duty of loyalty.” Kopka, 874 N.E.2d at 1070–71.22 Because there is no duty to speak

   relating to the information complained of by Genesys, the claims are futile.



   22
     As further set forth in Section II.J above, Genesys human resources did not attempt to
   determine where Manno, Strahan, or Hertel were going post-employment. This information was

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          Even still, “[c]onstructive fraud requires the misrepresentation of past or existing fact;

   statements of opinion and representations as to the future are not actionable.” Shriner v.

   Sheehan, 773 N.E.2d 833, 849 (Ind. Ct. App. 2002). Despite this, Genesys improperly points to

   “future plans” as alleged misrepresentations:

         Para. 442 – “Manno further misrepresented his future plans…”

         Para. 444 – “Manno at no time disclosed to Genesys that he, Strahan, Hertel, and several
          others were planning on leaving Genesys for a competitor….”

         Para. 542 – “Strahan at no time disclosed to Genesys that he, Manno, Hertel, and several
          others were planning on leaving Genesys for a competitor….”

         Para. 596 – “Hertel at no time disclosed to Genesys that he, Manno, Strahan, and several
          others were planning on leaving Genesys for a competitor….”

          These cannot form a claim for constructive fraud. See, e.g., id. (“[R]epresentations as to

   the future are not actionable.”).

          Likewise, Genesys’s hyperbolic legal assertions and statements of opinions cannot form

   constructive fraud claims. See, e.g., C & S Mgmt., LLC, 2008 WL 5215994, at *5 (“The charge

   that Counterdefendants should have disclosed they were not working in Superior’s ‘best interest’

   is a demand that Counterdefendants should have agreed with Plaintiff’s own opinion and

   assessments as to the consequences of those various actions.”); Darst v. Illinois Farmers Ins.

   Co., 716 N.E.2d 579, 581–82 (Ind. Ct. App. 1999) (“[E]xpressions of opinion are not

   actionable...”) (quotations omitted). Thus, the following assertions based “not on a fact but a

   conclusory legal opinion” cannot support a claim for constructive fraud:




   “irrelevant,” confirming that none of the Defendants were under an obligation to come forward
   with their or other employee’s future plans.
                                                   54
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         Para. 439 – “Manno failed to disclose to Genesys that he was working for the benefit of
          Talkdesk while still employed by Genesys, …. He further failed to disclose that he was
          orchestrating a conspiracy ….”

         Para. 440 – “Manno … failed to inform Genesys leadership of the imminent mass
          exodus of mid-market sales employees.”

         Para. 441 – “Manno expressed phony surprise at Hertel’s announcement.”

         Para. 444 – “Manno at no time disclosed to Genesys that he, Strahan, Hertel, and several
          others … were spending substantial amounts of time preparing for that departure and
          competing against Genesys.”

         Para. 548 – “Strahan … failed to disclose to Genesys that for more than a month he had
          been working for the benefit of Talkdesk while still employed by Genesys.”

         Para. 542 – “Strahan at no time disclosed to Genesys that he, Manno, Hertel, and several
          others … were spending substantial amounts of time preparing for that departure and
          competing against Genesys.”

         Para. 595 – “Hertel misrepresented his reasons for leaving Genesys and failed to disclose
          to Genesys that for more than a month he had been working for the benefit of Talkdesk
          while still employed by Genesys.”

         Para. 596 – “Hertel at no time disclosed to Genesys that he, Manno, Strahan, and several
          others were planning on leaving Genesys for a competitor, and were spending
          substantial amounts of time preparing for that departure and competing against
          Genesys.”

          Accordingly, even if a duty of disclosure existed, each of the statements relied on by

   Genesys for its constructive fraud claims are improper and fail as a matter of law.

   F.     Claims of Conspiracy against Manno, Strahan, Hertel, and Talkdesk (Counts 12, 24,
          30, and 36)

          Genesys’s omnibus “conspiracy” count against Manno, Strahan, Hertel, and Talkdesk

   also fails. Because Genesys cannot prove impropriety of any of the underlying claims, the

   conspiracy claims likewise fail. However, even if the underlying claims could be maintained,

   “[i]n Indiana, there is no separate civil cause of action for conspiracy … [only] for damages

   resulting from a conspiracy.” Miller v. Central Indiana Cmty. Found., Inc., 11 N.E. 3d 944, 962


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   (Ind. Ct. App. 2014). And “an allegation of civil conspiracy will not survive based only upon

   impermissible speculation.” Id. at 963.

           Here, Genesys relies solely on speculation to support its alleged intent to conspire. “This

   kind of generic allegation does not meet the Rule 9(b) standard.” See C & S Mgmt., LLC, 2008

   WL 5215994, at *6. Indeed, “[a] complaint that attributes misrepresentations to all defendants,

   lumped together for pleading purposes, generally is insufficient.” Id. Such is the case here:

   Genesys asserts no specific details outlining what it deems to constitute the conspiracy between

   the four parties apart from broadly-stated and conclusory assertions. See D.I. 220 ¶¶ 450, 548,

   602, 655. Indeed, Genesys impermissibly lumps the Defendant’s activities together and broadly

   describes the activity instead of detailing each specific conspiratorial act as required under Rule

   9(b).

           Additionally, for a properly pled conspiracy claim, the plaintiff “must allege some

   unlawful act underlying the defendants’ concerted action.” Crystal Valley Sales v. Anderson, 22

   N.E.3d 646, at 653–54 (Ind. Ct. App. 2014) (emphasis added). “[I]t is not enough that the

   alleged conspirators acted in concert and that the result amounted to a breach of a contractual or

   fiduciary duty by one of them; rather … there must be some intentional underlying act of

   wrongdoing by each of the coconspirators.” Id. (emphasis added). Here, as noted, Genesys

   makes sweeping accusations of a conspiracy without identifying the underlying act of each

   separate coconspirator.

           This is for good reason: there is no actionable wrongdoing that could form the basis of an

   alleged conspiracy as to Talkdesk, Manno, Hertel, and Strahan. It is undisputed that neither

   Talkdesk nor its CEO had a fiduciary duty or contractual relationship with Genesys—so there

   can be no joined conspiracy relating to breach of fiduciary duty. To the extent Genesys argues

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   that “helping” someone breach their fiduciary duty is a tort, this cannot amount to civil

   conspiracy and would already be subsumed within Genesys’s already-pled tortious interference

   claims. See id. at 654. Likewise, Genesys has and can only assert its “raiding” claim against

   Talkdesk; thus, there can be no common conspiracy to commit improper raiding. To the extent

   Genesys asserts that the conspiracy is based on misappropriation of trade secrets, the Indiana

   trade secret act supersedes the assertion. The Uniform Trade Secret Act “displaces all

   conflicting law of this state pertaining to the misappropriation of trade secrets” D.I. 156 at 27

   (citing Ind. Code § 24-2-3-1(c)). And even if not superseded, an alleged conspiracy to

   misappropriate trade secrets would have to be pled with specificity—which it is not. Genesys’s

   claims do not set forth details regarding which alleged trade secrets the parties conspired to

   misappropriate, when such action occurred, and in what context the conspiracy was alleged to

   have occurred. Again, such “generic allegation does not meet the Rule 9(b) standard.” C & S

   Mgmt., LLC, 2008 WL 5215994, at *6. Finally, Genesys also asserts that there was a conspiracy

   to interfere with Genesys’s employee contracts. Yet, Genesys does not allege breach of contract

   as to Hertel—or tortious interference as to Hertel or Strahan. Thus, there is no support for an

   “interference” common conspiracy as would be required for this claim. Accordingly, each

   alleged conspiracy claim fails as a matter of law.

   G.     Claims of Aiding and Abetting Breach of Fiduciary Duty against Manno, Strahan,
          Hertel, and Talkdesk (Counts 13, 25, 31, and 37)

          Genesys’s “aiding and abetting” claims fail for the same reasons the “breach of fiduciary

   duty” claims fail as set forth in Section IV.C. above. Separately, the aiding and abetting claims

   fail because such a claim is not recognized by Indiana courts. As expressly found by the Indiana

   Court of Appeals, “[t]o the extent that the allegation that Appellees ‘helped’ [Defendant] breach


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   his fiduciary duties resembles a claim of aiding and abetting a fiduciary in the breach of a

   fiduciary duty, we note that Indiana does not recognize such a cause of action.” Crystal Valley

   Sales, 22 N.E.3d at 656.23 Further, even if such a claim were cognizable, the plaintiff must

   “sufficiently allege that [aiding and abetting party] acted with such knowledge or intent

   concerning [defendant’s] fiduciary duties….” Id. Without sufficiently alleging that the party

   was ‘aware of [defendant’s] fiduciary duties,” then the claim still fails. Id.

          Here, Genesys makes a conclusory assertion as to each Defendant that the party

   “knowingly and intentionally aided and abetted” another party “in breaching that duty….” D.I.

   220 ¶¶ 457, 555, 609, 662. This fails to sufficiently plead knowledge by the aider and abetter of

   the specifics of the alleged fiduciary duty owed by the other party to Genesys. Indeed, the

   statement amounts to nothing more than a statement that the party knowingly and intentionally

   acted in a certain manner that caused another party to breach its duty. This falls well short of

   proof that each party “acted with such knowledge or intent concerning [another party’s] fiduciary

   duties to” Genesys, as required to support the claim. See Crystal Valley Sales, 22 N.E.3d at 656.

   H.     Claim of Raiding against Talkdesk (Count 35)

          As to Genesys’s “raiding” claim, there are no facts supporting that Talkdesk hired

   Genesys employees for the primary purpose of destroying Genesys’s business as is required to

   support such a claim. See Heckler & Koch, Inc. v. German Sport Guns GmbH, No.




   23
     Genesys avers that such a claim would be recognized as a theory of liability but cites no
   Indiana state court case for the proposition—instead relying on a district case (that preceded the
   Indiana Court of Appeals Crystal Valley Sales decision) where the court reasoned that the
   Indiana Supreme Court might decide to recognize such a claim. See Abrams v. McGuireWoods,
   LLP, 518 B.R. 491, 500 (N.D. Ind. 2014). However, “the decision to adopt a new cause of
   action for aiding and abetting in the breach of fiduciary duty is a decision better left to the
   legislature or our supreme court.” Crystal Valley Sales, 22 N.E.3d at 656.
                                                    58
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   111CV01108SEBTAB, 2013 WL 12291720, at *12 (S.D. Ind. Sept. 27, 2013) (finding that “the

   tort [of unfair competition] require[s] a showing that the defendant acted intentionally—'for the

   primary purpose of destroying a competing business.’). Indeed, as discussed in Section II.D.

   above, it is undisputed that Talkdesk sought to hire the best people it could find across the

   industry to fill its sales roles in late 2018. MSF #1. Further, Genesys’s reference to out-of-

   context, offhand comments relating to competition between the parties does not support the

   claim. See, e.g., The Finish Line, Inc. v. Foot Locker, Inc., No. 1:04CV877RLYWTL, 2006 WL

   146633, at *9 (S.D. Ind. Jan. 18, 2006) (“Finish Line cites no authority to support its contention

   that Foot Locker’s hiring plan can be rendered unlawful merely by virtue of offhand statements

   that in addition to filling open positions, the plan would ‘hit the competition where it hurts’ or

   ‘destroy’ Finish Line's business.”).24 Instead, the actions of Talkdesk to hire qualified candidates

   is determinative. Id. at *7. Because Talkdesk undertook legitimate efforts to hire qualified

   employees for its business, the claim of “raiding” fails as a matter of law. Konecranes, Inc.,

   2013 WL 1566326, at *3 (alteration omitted).

                                          V.    CONCLUSION

          For the foregoing reasons, Defendants respectfully request that the Court grant

   Defendants’ motion for summary judgment and deny Plaintiff’s motion for summary judgment.




   24
     Genesys cites to a former marketing employee’s inquiry of when Talkdesk could “dance on
   Genesys’s grave” as its best evidence of targeting. However, the former employee has testified
   that she was making statements regarding an industry publication—not about recruiting Genesys
   individuals. DEX299 at 12:5–13:1. Genesys has made similar “competitive banter” remarks
   about Talkdesk, for example, stating they wanted to put the “proverbial nail in Talkdesk’s
   coffin.” DEX286 at 165:3–20. Such “competitive banter” is common and not cognizable
   evidence for a “raiding” claim. See The Finish Line, 2006 WL 146633, at *9.
                                                    59
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         Dated: July 14, 2021                Respectfully submitted,

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                                        CERTIFICATE OF SERVICE



          I hereby certify that on July 14, 2021, a copy of the foregoing was filed electronically.

   Notice of this filing will be sent to the following parties by operation of the Court’s electronic

   filing system and/or first-class U.S. Mail:



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